       Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 1 of 89




                       UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                 (SAN FRANCISCO)


Larry Golden,Pro Se Plaintiff
                                                    received
740 Woodruff Rd.,#1102

Greenville, SC 29607                                      JAN 112024
Phone (864)288-5605                                  CLERK U.S. DlSTRtCT COURT
Email: atpg-tech@charter.net                       NORTHERN DISTRICT OF CALIFORNIA


                                          CASE NO:3:2023cv00048-WHO
LARRY GOLDEN,

                Plaintiff,                JURY TRIAL DEMANDED


                   V.                     (Direct Patent Infringement),
                                          (Induced and Contributory Patent
SAMSUNG ELECTRONICS                       Infringement),(Joint Patent
AMERICA,INC.                              Infringement)

              Defendants.




              PLAINTIFF'S NOTICE OF RELATED FILINGS IN
                                THE SUPREME COURT




                                                        January 10,2024
        Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 2 of 89




       Relevant to the cause(s) of action outlined in this case, is the recent case filed in the

Supreme Court on January 9, 2024, Larry Golden v. Qualcomm Incorporated, Case No. 23-740

       Pursuant to the Supreme Court, all petitions filed on or affer July f of2019 must include

a "Related Cases" section. Relevant to petition filings, Rule 14 now asks for:

       [A] list of all proceedings in state and federal trial and appellate courts, including
       proceedings in this Court, that are directly related to the case in this Court. For each such
       proceeding, the list should include the court in question, the docket number and case
       caption for the proceeding, and the date of entry of the judgment. For the purposes of this
       rule, a case is "directly related" if it arises from the same trial court case as the case in
       this Court(including the proceedings directly on review in this case), or if it challenges
       the same [causes of actions; patents, etc.] as is challenged in this Court, whether on direct
       appeal or through state or federal collateral proceedings. Amended Rule 14.1(b)(iii).


       The "Certificate of Service" not only include the Defendant's Attorney of record in this

case, it also provides "Notice", and a list of other "Related Cases".

       Attached as Exhibit A is a copy of the "Petition for Writ of Certiorari of the Related Case

filed in the Supreme Court in Larry Golden v. Qualcomm Incorporated, Case No. 23-740"




                                                       Sincerely,


                                                       / Larry Goldevx/
                                                       Larry Golden,Pro Se Plaintiff
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        Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 3 of 89




                    CERTIFICATE OF NOTICE AND SERVICE



       The undersigned hereby certifies that on this 10"^ day of January, 2024, a true and correct
copy of the foregoing "Notice of Related Filings in the Supreme Court" and a copy of the
"Petition for Writ of Certiorari of the Related Case filed in the Supreme Court in Larry Golden v.
Qualcomm Incorporated, Case No. 23-740", was served upon the following Defendants either by
priority "express" mail; priority mail; or via email


    1. Golden v. Google LLC,3:2022cv05246, California Northern District Court-[San
       Francisco] Pending
       U.S. District Court-NDC-San Francisco
       450 Golden Gate Avenue,          Floor
       San Francisco, CA 94102

       Matthew S. Warren
       WARREN LEX LLP
       2261 Market Street, No. 606
       San Francisco, California, 94114
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       Fax:(415)895-2964
       Email: 22-5246@cases.warrenlex.com

   2. Golden v. Qualcomm, Inc., 4:2022cv03283, California Northern District Court -
       [Oakland] Judgement entered March 15, 2023
       U.S. District Court-NDC-Oakland
       1301 Clay Street, Suite 400 S
       Oakland, CA 94612

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       50 West San Fernando Street, Suite 250
       San Jose, CA 95113
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       Email:jstevens@pattersonsheridan.com

   3. Golden v. Intel Corporation, 5:2022cv03828, California Northern District Court-[San
       Jose] Judgement entered November 22, 2022
       U.S. District Court-NDC-San Jose
       280 South U'Street, Room 2112
    Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 4 of 89




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4. Golden v. Apple, Inc., 3:2022cv04152, California Northern District Court-[San
   Francisco] Judgement entered October 20,2022
   U.S. District Court-NDC-San Francisco
   450 Golden Gate Avenue, 16^'' Floor
   San Francisco, CA 94102

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5. Golden v. Samsung Electronics America, Inc., 3:2023cv00048, California Northern
   District Court -[San Francisco] Judgement entered June 8, 2023
   U.S. District Court-NDC-San Francisco
   450 Golden Gate Avenue, 16^'^ Floor
   San Francisco, CA 94102

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6. Golden v. Samsung Electronics America, Inc., 0:2023cvpri02120, U.S. Court ofAppeals,
   Federal Circuit. Pending
   U.S. Court ofAppeals for the Federal Circuit
   717 Madison Place, NW
   Washington, DC 20439

   Hyun Sik Byun
    Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 5 of 89




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7. Golden v. Qualcomm Incorporated, 0:2023cvpri01818, U.S. Court of Appeals, Federal
   Circuit. Judgement entered October 10, 2023
   U.S. Court ofAppeals for the Federal Circuit
   717 Madison Place, NW
   Washington, DC 20439

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8. Golden v. US,0:2023cvus02139, U.S. Court ofAppeals, Federal Circuit. Judgement
   entered December 15, 2023

   U.S. Court of Appeals for the Federal Circuit
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   Washington, DC 20530
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9. GOLDEN V. USA, 1:2013cv00307, U.S. Court of Federal Claims. Judgement entered
   November 10, 2021
   ProSe_case_filings@cfc.uscourts.gov,
   Grant.D.Johnson@usdoj.gov,

10. GOLDEN V. USA, l:2023cv00185, U.S. Court of Federal Claims. Judgement entered
   May 31, 2023
   ProSe_case_filings@cfc.uscourts.gov,
   Grant.D.Johnson@usdoj.gov,

11. GOLDEN V. USA, l:2023cv00811, U.S. Court of Federal Claims. Pending
    Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 6 of 89




   ProSe_case_filings@cfc.uscourts.gov,
   Grant.D.Johnson@usdoj.gov,

12. United States Department ofHomeland Security, Petitioner, v. Larry Golden, Patent
   Owner^ Case IPR2014-00714, The United States Patent Trial and Appeal Board. Final
   Written Decision entered October 15, 2015
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   Patent Trial and Appeal Board
   US Patent and Trademark Office
   PO Box 1450
   Alexandria, Virginia 22313-1450

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                   Exhibit A
Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 8 of 89




                           .23-74^




                           3fn®6e

       Supreme Court of tl^r f!Hntteb ^tate^Ef


                      LARRY GOLDEN,

                                             Petitioner,

                              V.




                      QUALCOMM INC.,

                                           Respondent.




              On Petition For Writ Of Certiorari
            To The United States Court Of Appeals
                   For The Federal Circuit




           PETITION FOR WRIT OF CERTIORARI




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                                                           JAN -9 202''
                                                       OFFICE OF THF CI-mlJ
                                                                noum, u.o._
Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 9 of 89




                   QUESTIONS PRESENTED

           On March 6, 1857, in the Dred Scott decision, the
      U.S. Supreme Court decided that African Americans
      'liad no rights which the white man was bound to re
      spect" and that "all people of African descent, free or
      enslaved, were not U.S. citizens and therefore had no
      right to sue in federal court; the Dred Scott decision
      was made after the Fifth Amendment,which "requires
      that'due process oflaw' be part of any proceeding that
      denies a citizen . . . property"; and the Seventh Amend
      ment,that "preserves the right of a jury for civil cases
      in federal court"; yet, some would say the Dred Scott
      decision was effectively nullified in 1865 by the pas
      sage of the Thirteenth Amendment, which abolished
      slavery, and by the Fourteenth Amendment in 1868,
      which guaranteed full citizenship rights; but, where is
      it specifically written that a black and/or African
      American has the right to sue a White in federal court
      over property?

          The Northern District of California Court and
      The Federal Trade Commission in FTC v. Qualcomm,
      411 F. Supp. 3d 658(N.D. Cal. 2019), has already inves
      tigated and discovered Qualcomm does not have the
      patent rights; a licensing agreement; or authorization
      to legally collect a 5% running royalty on the price
      of each smartphone sold. Therefore, is it fair to say
      Qualcomm's unauthorized "use" of the patented
      smartphone invention to collect tens of billions of dol
      lars annually is in violation of 35 U.S.C. § 271(a), and
      the person injured is the inventor who owns the patent
      rights for the smartphone?
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             QUESTIONS PRESENTED—Continued

           Does systemic/structural racism in the District
       and Appellate Courts; does judicial abuse and bias
       against petitioner, a Black and/or African American;
       does denying Petitioner his 7th Amendment right to a
       trial by jury; create monetary liabilities for the com
       pany, Qualcomm, who benefits from the District and
       Appellate Courts' actions?
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               PARTIES TO THE PROCEEDING

           The parties to the proceeding in the United States
       Court of Appeals for the Federal Circuit were Peti
       tioner Larry Golden and Respondent Qualcomm Incor
       porated.


                         RELATED CASES

           Golden v. Google LLC, 3:2022cv05246, California
           Northern District Court. Pending
           Golden v. Qualcomm, Inc., 4:2022cv03283, Cali
           fornia Northern District Court. Judgment entered
           March 15, 2023
           Golden v. Intel Corporation, 5:2022cv03828, Cali
           fornia Northern District Court. Judgment entered
           November 22, 2022
           Golden v. Apple, Inc., 3:2022cv04152, California
           Northern District Court. Judgment entered Octo
           ber 20,2022
           Golden v. Samsung Electronics America, Inc.,
           3:2023cv00048, California Northern District Court.
           Judgment entered June 8, 2023
           Golden v. Samsung Electronics America, Inc.,
          0:2023cvpri02120, U.S. Court of Appeals, Federal
          Circuit. Pending
          Golden v. Qualcomm Incorporated,0:2023cvpri01818,
          U.S. Court of Appeals, Federal Circuit. Judgment
          entered October 10, 2023
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           Golden v. USA, 0:2023cvus02139, U.S. Court of
           Appeals, Federal Circuit. Judgment entered De
           cember 15,2023
           Golden v. USA, l:2013cv00307, U.S. Court ofFed
           eral Claims. Judgment entered November 10,
           2021

           Golden v. USA,l:2023cv00185, U.S. Court of Fed
           eral Claims. Judgment entered May 31, 2023
           Golden v. USA, l:2023cv00811, U.S. Court of Fed
           eral Claims. Pending
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       Order: Denying Motion for Reconsideration;
         United States District Court for the North
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       Order: Denying En Banc Rehearing; United
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       Comcast Corp. v. National Association ofAfrican-
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       Dimick V. Schiedt, 293 U.S. 474(1935)                42
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          PETITION FOR A WRIT OF CERTIORARI
           Larry Golden petitions for a writ of certiorari to
       review the judgment ofthe United States Court ofAp
       peals for the Federal Circuit in this case.



                       OPINIONS BELOW

           The Court of Appeals opinions addressing the
       questions(App. 1-10) and (App. 24-25) are unreported.
       The District Court opinions addressing the questions
       (App. 11-20), and (App. 21-23) are unreported.



                         JURISDICTION

           The District Court entered judgment on March 15,
       2023 (App. 11). The District Court entered judgment
       on a motion for reconsideration on April 6, 2023(App.
       21).The Court ofAppeals entered judgment on October
       10,2023(App. 1). The Court ofAppeals denied a timely
       filed petition for rehearing en banc on December 6,
       2023 (App. 24). This Court has jurisdiction under 28
       US.C.§ 1254(1).



            STATUTES AND CONSTITUTIONAL
                   PROVISIONS INVOLVED

           35 U.S.C. § 271(a) direct patent infringement and
      "use" of a patented invention; § 271(b) induced pa
      tent infringement; § 271(c) contributory patent
Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 20 of 89




       infringement; U.S. Constitution—Fifth Amendment
       "Due Process" Clause; U.S. Constitution—Seventh
       Amendment "Right to Trial by Jury"; and Antitrust
       law—illegal "t3dng" arrangement.



                     INTRODUCTION AND
                  STATEMENT OF THE CASE

            The District Court and the Appellate Court have
       victimized, mistreated, and prosecuted another Black
       and/or African American in a system of deeply embed
       ded racist laws [systemic/structural racism], and has
       entrenched the practices and beliefs that produce,con
       done, and perpetuate the widespread unfair treatment
       and oppression of Blacks and/or African Americans
       [Petitioner] who attempt to bring actions in a court of
       law against Whites over property rights [Supreme
       Court "Bred Scott" case].

           The Seventh Amendment of the United States
       Constitution provides in relevant part that "[i]n suits
       at common law, where the value in controversy exceeds
       twenty dollars, the right of trial by jury shall be pre
       served" [U.S. CONST, amend. VII]. The Northern Dis
       trict of California Court fail to adhere to the Circuit's
       own precedence [horizontal stare decisis] in FTC v.
       Qualcomm,411 F. Supp. 3d 658(N.D. Cal. 2019)
          Judge Lucy H. Koh concluded Qualcomm is being
      "unjustly enriched" from its anticompetitive practices
      of collecting a 5% running royalty on the price of
      each "smartphone" sold [FTC—"unfair methods of
Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 21 of 89




       competition" and "unfair or deceptive acts or prac
       tices"] from the OEMs Samsung, Google, etc. Qual-
       comm monopolized the market on illegally collecting
       royalties on Petitioner's patented smartphone inven
       tion,thereby restraining Petitioner from collecting roy
       alties from the OEMs Samsung, Google, etc. for the
       making, using, offering for sell, and selling of Peti
       tioner's smartphone invention 135 U.S.C. §271Ca)].
       This type of antitrust injury to Petitioner is of a type
       that the antitrust laws were intended to prevent; and
       the Petitioner's injury flows from that which makes
       Qualcomm's acts unlawful. The District Court and Ap
       pellate Court ignored the fact that the controversy ex
       ceeds twenty dollars, and Petitioner's right of trial by
      jury is preserved lU.S. CONST amend. VII].

           The District Court and the Appellate Court fail to
       allow a trial by jury [U.S. CONST, amend. VII] upon
       Petitioner, a Black and/or African American demand,
      to determine if Qualcomm's illegal collection of a 5%
      running royalty on the price of each "smartphone" sold
      violates antitrust laws only [FTC v, Qualcomm, 411
      F. Supp. 3d 658 (N.D. Cal. 2019)]; patent laws only
      [whoever "uses" any patented invention without au
      thority or legal right to do so, infringes the patent—35
      U.S.C. § 271(a)], or both antitrust laws and patent
      laws.

          The District Court and the Appellate Court have
      denied Petitioner a trial by jury [U.S. CONST amend.
      VII] of the patent infringement claims against Qual
      comm's literal infringement and infringement of the
      doctrine of equivalents—35 U.S.C. § 271(a); induced
Case 3:23-cv-00048-WHO Document 42 Filed 01/11/24 Page 22 of 89




       patent infringement—35 U.S.C. § 271(b); contributory
       patent infringement—35 U.S.C. § 271(c); and willful
       infringement—deliberate or intentional; that are is-
       sues-of-facts tried by a jury under the Seventh Amend
       ment.

           The Northern District of California Court, who is
       bound by and must follow the decisions of the U.S.
       Court of Appeals for the Federal Circuit [vertical stare
       decisis] fail to abide by the Circuit's decision in Larry
       Golden v. Google LLC, Case No. 22-1267, that a
       "smartphone" [Qualcomm's Smartphone for Snap
       dragon Insiders] literally and/or under the doctrine of
       equivalents infringes Petitioner's "independent claims
       from U.S. Patent Nos. 10,163,287, 9,589,439, and
       9,069,189 . . . and it does so in a relatively straightfor
       ward manner". The District Court denied Petitioner
       [systemic/structural racism] a trial by jury in this pa
       tent infringement claim that is an issue-of-fact [U.S.
       CONST,amend. VII].

           Likewise,the U.S. Court ofAppeals for the Federal
       Circuit [horizontal stare decisis] fail to adhere to the
      Circuit's own precedence in Lany Golden v. Google
      LLC, Case No. 22-1267, that a "smartphone" [Qual
      comm's Smartphone for Snapdragon Insiders] literally
      and/or under the doctrine of equivalents infringes Pe
       titioner's independent claims from U.S. Patent Nos.
       10,163,287, 9,589,439, and 9,069,189 . . . "and it does
      so in a relatively straightforward manner". The Appel
      late Court was complicit in denying the Petitioner, a
      Black and/or African American, [systemic/structural
      racism] a trial by jury in this patent infringement
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       claim that is an issue-of-fact [U.S. CONST, amend.
       VII].

            The District Court and the Appellate Court ig
       nored the precedence set by the U.S. Court of Appeals
       for the Federal Circuit [vertical stare decisis] in Larry
       Golden v. Google LLC, Case No. 22-1267 that estab
       lishes the "smartphone" directly infringes at least Pe
       titioner's independent claims from U.S. Patent Nos.
       10,163,287, 9,589,439, and 9,069,189 . . . "and it does
       so in a relatively straightforward manner", when es
       tablishing the "direct infringement" requirement for
       induced patent infringement—35 U.S.C. § 271(b); and,
       contributory patent infringement—35 U.S.C. § 271(c).

           The District Court and the Appellate Court fail to
       realize it is a jury's responsibility to decide if Qual-
       comm, with knowledge, has induced patent infringe
       ment by selling its Qualcomm Snapdragon Chipset
       that "ties" Petitioner's patented CPUs,through adver
       tising; with instructions; and with a threat to refuse
      licensing its cellular modems for smartphones if the
      OEMs (i.e., Samsung; Google) does not purchase the
      two combined components [Petitioner's patented CPUs
      and Qualcomm's patented cellular modems]that forms
      Qualcomm's Snapdragon Chipset/SoC/CPU/Processor
      [FTC V. Qualcomm, 411 F. Supp. 3d 658 (N.D. Cal.
       2019)].

          The District Court and the Appellate Court fail to
      resQize it is a jury's responsibility to decide if Qual
      comm, with knowledge, has offered to sell or has sold
      within the United States, Qualcomm's Snapdragon
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       Chipset that "ties" Petitioner's patented CPUs [FTC v.
       Qualcomm];is liable as a contributory infringer for us
       ing the "chipset" in practicing Petitioner's patented
       process, constituting a material part ofthe Petitioner's
       smartphone invention, knowing the same to be espe
       cially made or especially adapted for use in an in
       fringement of Petitioner's patent(s), and not a staple
       article or commodity ofcommerce suitable for substan
       tial non infringing use [contributory infringement].
           The District Court and the Appellate Court ig
       nored the precedence set by the US. Court of Appeals
       for the Federal Circuit [vertical stare decisis] in Eko
       Brands,LLC v. Adrian Rivera Maynez Enters.,Inc.,946
       F.3d 1367 (Fed. Cir. 2020); "[tlhe Federal Circuit court
       emphasized the actual standard that "willfulness re
       quires a jury [U.S. CONST,amend. VIII to find no more
       than deliberate or intentional infringement."
           On November 4, 2010, Petitioner emailed Kate
       Larm^totegi^n^Qualcomm Incorporated (E-mail:
                               Direct:                   to
       form Ms. Lane of certain patented technology (i.e.,
       CMDC—Smartphone—device; central processing unit
      (CPU)), and asked if Qualcomm would be interested in
      entering into a licensing agreement. December 7,2010,
       Petitioner mailed letters addressed to the attention of
       Qualcomm's Chairman & CEO Dr. Paul E. Jacobs and
       Qualcomm's EVP & President Derek Aberle,informing
       the Executives of the Patent Owner's (Golden) pa
       tented technology and asked if Qualcomm would be in
       terested in entering into a licensing agreement. After
       10 months, Ms. Lane responded back via e-mail on
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      September 29, 2011 with,"Hi Larry, I'm just checking
      in to see if this portfolio is stili available for purchase.
      Please let me know. Thank you, Kate". On October 5,
      2011, Ms. Lane responded via e-mail, "Thanks Larry,
      [cjan you please take a few moments to fill out the at
      tached Patent Information Request form for this?
      Please let me know if you have any questions. Best re
      gards, Kate". On October 11, 2011, the Patent Owner
      (Golden)returned via e-mail, the answered Patent In
      formation Request form to Ms. Lane. The Patent
      Owner made several attempts to contact Ms. Lane via
      e-mail and by phone after that, but never heard back
       from Ms. Lane. This evidence allows the Petitioner to
       argue to a jury [U.S. CONST, amend. VII] that his pa
       tented technology was vital to Qualcomm's chipsets
       and smartphone products being able to compete.
           The District Court and the Appellate Court fail to
       realize that regardless of whether the above evidence
       ultimately results in a willfulness finding, getting the
       evidence before thejury [U.S. CONST,amend.VII] may
       increase the likelihood that the jury [U.S. CONST,
       amend. VII] will find infringement and the asserted
      patents valid. Depriving the Petitioner, a Black and/or
      African American, of his right to present Qualcomm's
      alleged deliberate and intentional infringement to a
      jury, not only violates Petitioner's right granted under
      the Seventh Amendment,it also demonstrates and ver
      ifies Petitioner's claim of racism [systemic and struc
       tural racism].
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            REASONS FOR GRANTING THE WRIT
           The District Court Judge overstepped and the
       Appellate Court concurred; that the issue-of-facts to be
       tried by a jury under the Seventh Amendment (Peti
       tioner's alleged literal infringement, infringement un
      der the doctrine of equivalents, induced infringement,
      contributory infringement, willful infringement, un
      just enrichment, and illegal "tying" arrangements); is
       a Constitutional right currently unavailable to the Pe
       titioner, a Black and/or African American, who has
       been entangled in a judicial system of systemic and/or
       structural racism, and Judges who has proven them
       selves to be judicially bias in favor of the White-owned
       Qualcomm corporation. Patent infringement is an is-
       sue-of-fact tried by a jury under the Seventh Amend
       ment.

           Qualcomm has eluded prosecution for its illegal
       behavior, actions, and activities for years. Qualcomm
       has taken advantage of a judicial system that is
      plagued with systemic and structural racism; and
      Judges who are judicially bias toward the Government
      agencies and large corporations, over that of a Pro Se
      Black and/or African American litigant.
           In 2008, Qualcomm was one of seven White-owned
      companies awarded contracts by the Dept. of Home
      land Security(DHS)in the DHS S&T Cell-All BAA07-
      10 initiative, as the prime contractor responsible for
      developing three ofPetitioner's, a Black and/or African
      American, inventions [new, improved cell phone;
      CBRNE sensors; and smartphone CPUs]. As long as
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       Qualcomm was performing work for the Government
       under the Cell-All BAA07-10 initiative, Qualcomm was
       shielded by the DHS [Government] from infringement
       liability.

           Title VI, 42 U.S.C. § 2000d et seq., was enacted as
       part of the landmark Civil Rights Act of 1964. It pro
       hibits the DHS,who awarded seven White-owned com
       panies' contracts, from discriminating against the
       Petitioner, on the basis of race, color or national origin,
       in programs and activities receiving federal financial
       assistance. As President Kennedy said in 1963:
           "Simple justice requires that public funds, to
           which all taxpayers of all races [colors, and
           national origins] contribute, not be spent in
           any fashion which encourages, entrenches,
           subsidizes or results in racial [color or na
           tional origin] discrimination."

           In 2014, the Dept. of Homeland Security (DHS),
       who was protecting Qualcomm from patent infringe
       ment liability, and the Dept. of Justice(DOJ), who was
       representing Qualcomm in Golden v. USA, Case No.
       13-307C; petition the Patent Trials and Appeals Board
      (PTAB) as "persons" not authorized to do so [Return
      Mail V. U.S. Postal Service], with three unqualified pa
      tent references that do not antedate Petitioner's pa-
      tent(s). The PTAB [Government], being judicially bias
      for the benefit ofthe DHS and DOJ,decided to institute
       trial against Petitioner, a Black and/or African Ameri
       can, with the three unqualified references of Astrin,
       Breed, and Mostov. Qualcomm or any of the six other
       white-owned companies could have petitioned the
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       PTAB as "persons" authorized to do so. The DHS,DOJ,
       and PTAB have never before instituted an IPR against
       a White with unqualified patent references to invali
       date their patents.

           In 2019, the Ninth Circuit in FTC v. Qualcomm,
       reversed the opinion of the Northern District of Cali
       fornia Court of a permanent injunction against Qual-
       comm. The injunction was issued to enjoin Qualcomm
       from charging and collecting a royalty on Petitioner's
       patented CPU Qualcomm "tied" to its cellular modem
       and sells as a Snapdragon chipset; and collecting a 5%
       running royalty on the price of Petitioner's patented
       handsets.

           The DOJ and the DOE intervened at the Ninth
       Circuit against a sister agency,the FTC,and basically
       stated the only person harmed by Qualcomm's actions
       is a Black and/or African American patent owner.
       Qualcomm was made knowledgeable of the IP in 2008.
            In 2019, Qualcomm was notified by the DOJ and
       the U.S. Court of Federal Claims(COFC)to appear in
       Golden v. USA, Case No. 13-307C, but Qualcomm
       failed to appear.The DOJ proceeded to drop everything
       the prime contractor Qualcomm in the DHS S&T Cell-
       All BAA07-10 initiative was responsible for developing
       [Petitioner's patented new, improved cell phone;
       CBRNE sensors; and CPUsl just to make the case a
       dispute between private parties.

           The COFC Judge,knew or should have known,the
       COFC does not have jurisdiction to litigate disputes
       between private parties [the DOJ dropped Qualcomm
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       and the other six white-owned companies awarded
       contracts under the DHS S&T Cell-All BAA07-10 ini
       tiative and narrowed the dispute between the private
       parties of Golden and Apple, away from that of Golden
       V. The DHS].The Petitioner is not required to prove di
       rect infringement under 35 U.S.C. § 271(a) as a predi
       cate to proving direct infringement under 28 U.S.C.
       § 1498(a)Zo/ie^V;

           The COFC [Government], being judicially bias in
       favor of the DHS and DOJ, decided to blame the Peti
       tioner, a Black and/or African American, for failure to
       prove direct infringement under 35 U.S.C. § 271(a) as
       a predicate to proving direct infringement under 28
       U.S.C. § 1498(a){Zoltek V)and dismissed the case.

            Between the years 2019 and 2022,Petitioner,a Pro
       Se Black and/or African American, have demanded a
       jury trial under the Seventh Amendment to litigate Pe
       titioner's alleged patent infringement claims against
       Qualcomm,in the U.S. District Court for the District of
       South Carolina and the U.S. District Court for the
       Northern District of California; but, because of sys
       temic/structural racism and judicial bias in favor of
       Qualcomm, Petitioner have been denied his Seventh
       Amendment right to a trial by jury. Petitioner's patent
       infringement claims against Qualcomm is an issue-of-
       fact tried by a jury under the Seventh Amendment.
           The Due Process Clause of the Fifth Amendment
       generally prohibit federal governments [judges in
       cluded]from "depriving any person of[]property, with
       out due process of law." Due process, while not
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       "precisely defined," generally refers to a "fundamental
       fairness" requirement when the government [judges
       included] seeks to burden an individual's property in
       terests. According to the Supreme Court, the "touch
       stone" of due process is "the protection ofthe individual
       against arbitrary action of government [judges]."
           The Supreme Court has determined that the Due
       Process Clause contain both "substantive" and "proce
       dural" components. Procedural due process is con
       cerned with fairness of the procedures employed when
       the government seeks to deprive an individual of their
       property interests. The substantive component "bars
       certain arbitrary, wrongful government actions 're
       gardless of the fairness of the procedures used to im
       plement them.'" The substantive due process inquiry
       revolves around deprivation of a person's property is
      justified.

           This Court should grant the petition, because as it
      stands, the District Court and Appellate Court Judges
      have deprived Petitioner of his property without due
      process of law, and has denied Petitioner, a Black
      and/or African American, his Seventh Amendment
      right to a jury trial. Plus,the District Court and Appel
      late Court Judges lack the ability to be impartial and
       unbiased; and has violated certain codes of conduct for
       United States Judges:
           Canon 2A."An appearance of impropriety oc
           curs when reasonable minds, with knowledge
           of all the relevant circumstances disclosed by
           a reasonable inquiry, would conclude that
           the judge's honesty, integrity, impartiality.
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           temperament, or fitness to serve as a judge is
           impaired."

          "[PJublic manifestation by a judge of the
          judge's knowing approval of invidious dis
          crimination on any basis gives the appearance
           of impropriety under Canon 2 and diminishes
           [] the integrity and impartiality of the judici
           ary, in violation of Canon 2A."
          "The duty under Canon 2 to act in a manner
           that promotes public confidence in the integ
           rity and impartiality of the judiciary applies
           to all the judge's activities, including the dis
           charge of the judge's adjudicative [] responsi
           bilities. The duty to be respectful includes []
           avoid [] behavior that could reasonably be in
           terpreted as [], prejudice or bias."
          Canon 3C. "Disqualification.(1) A judge shall
          disqualify himself or herself in a proceeding
          in which the judge's impartiality might rea
          sonably be questioned, including []: (a) the
          judge has a personal bias or prejudice con
           cerning a party ..."
           Canon 3BC6). "Public confidence in the integ
           rity and impartiality of the judiciary is pro
           moted when judges take appropriate action
           based on reliable information oflikely miscon
           duct. Appropriate action [] should be to pre
           vent harm to those affected by the misconduct
           and to prevent recurrence."

          As Justice Kennedy acknowledged in Williams v.
      Pennsylvania, impartiality in our justice system and
      the guarantees of due process are "necessary to the
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       public legitimacy of judicial pronouncements and to
       the rule oflaw itself."



       I.   PATENT INFRINGEMENT IS AN ISSUE-
            OF-FACT TRIED BY A JURY UNDER THE
            SEVENTH AMENDMENT

            Assuming the Petitioner, an African American in
      ventor, has the constitutional right to sue Qualcomm,
      a White-owned company, in Federal Court; the ques
      tion of whether Qualcomm's alleged infringing devices,
      methods or products are covered by the Petitioner's pa
      tent claims is a question of fact to be resolved by the
      jury. See, e.g., Oakley, Inc. v. Int'l Tropic-Cal, Inc., 923
      F.2d 167,169(Fed. Cir. 1991)("Infringement is a ques
      tion of fact"); SRI v. Matsushita Electronic Corp., 775
      F.2d 1107,1125,227 USPQ 577,            (Fed. Cir. 1985)("It
      is settled that the question of infringement (literal or
       by equivalents) is factual").

           Patent infringement is an issue-of-fact tried by a
      jury under the Seventh Amendment. No particular
      form for ajury trial demand is prescribed by California
      statute or court rule.(See Cal. Code Civ. Proc. § 631(a):
      "[t]he right to a trial by jury as declared by Section 16
       of Article I of the California Constitution shall be
       preserved to the parties inviolate";"[tjrial byjury is an
      inviolate right—not to be violated or broken—and
      shall be secured to all").

           It has been over twenty-five years since the Court
      last assessed the scope of the constitutional right to a
      jury in a patent-infringement case. Markman v.
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       Westview Instruments, Inc., 517 U.S. 370, 372 (1996).
       More remarkable,that decision has been its only direct
       pronouncement on the matter in the 230 years that pa
       tent infringement has been actionable [Act of Apr. 10,
       1790, ch. 7, §§ 1, 4, 1 Stat. 109, 110, 111 (first federal
       patent act)].
             The Seventh Amendment requires juries in "Suits
       at common law"[U.S. CONST,amend. VII]. Law courts
       always offered juries; and early juries tried nearly all
       infringement and validity issues.
           Long-standing equity principles, according to the
       Supreme Court,dictated that "only under the most im
       perative circumstances which in view of the flexible
       procedures of the Federal Rules we cannot now antici
       pate, can the right to a jury trial of legal issues be lost
       through prior determination of equity principles."

            Therefore, why was Petitioner, an African Ameri
       can inventor, denied his Seventh Amendment right to
       a jury trial, in a suit over property against Qualcomm,
       a white-owned company, "but for" the decision of the
       Dred Scott case is still promulgated as "rule oflaw"?


       II.   QUALCOMIVFS SMARTPHONE FOR SNAP
             DRAGON INSIDERS LITERALLY MEETS
             EVERY LIMITATION OF PETITIONER'S
             PATENT CLAIMS

       Direct Patent Infringement
           Qualcomm's alleged infringing device that Peti
       tioner claims is literally infringing his patent claims,
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       is Qualcomm's Smartphone for Snapdragon Insiders.
       The Petitioner's literal infringement claim is a ques
       tion of fact to be resolved by the jury.
            If a jury finds that Qualcomm's alleged infringing
       devices, methods or products does not literally meet
       one (or more)limitation ofthe patent's claims,the jury
       then inquires whether Qualcomm's alleged infringing
       devices, methods or products incorporates an equiva
       lent of the missing limitation, Wanier-Jenkinson Co. v.
       Hilton Davis Chem. Co., 520 U.S. 17, 38, 41 USPQ2d
       1865,    (1997)("The Federal Circuit held that it was
       for the jury to decide whether the accused process was
       equivalent to the claimed process . . .")
           Equivalency is established using a "three-way
      test" which sets out three questions of fact to be de
      cided by a jury. In the case of Qualcomm's Snapdragon
      Chipset/SoC/CPU, the jury must determine whether
      the Qualcomm's Snapdragon Chipset/SoC/CPU, that
      "ties" Petitioner's patented central processing unit
      (CPU)for smartphones: 1) performs substantially the
       same function as the claimed element; 2) in substan
       tially the same way; and, 3) to give substantially the
       same result. Machine Co. v. Murphy,97 U.S. 120, 125,
       24 L. Ed. 935(1878)("if two devices do the same work
       in substantially the same way, and accomplish sub
       stantially the same result, they are the same, even
       though they differ in name,form, or shape").
          For a finding of literal (direct) infringement, the
      jury must find that Qualcomm's alleged infringing de
      vices, methods or products literally meets every
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       limitation of the patent's claims. As noted by a CAFC
       panel, "[t]he literal infringement determination,
       whether properly construed claims read onto an ac
       cused product or method,is a question offact." General
       Mills, Inc. V. Hunt-Wesson, Inc., 103 RSd 978, 41
       USPQ2d 1440(Fed. Cir. 1997).

            The phrase "each handset sold," as defined in FTC
       V. Qualcomm,411 F. Supp. 3d 658(N.D. Cal. 2019),car
       ries the same meaning as "each smartphone of the
       OEM's (i.e., Samsung, Google, Apple, etc.) sold". The
       smartphone is the "genus" and the particular or spe
       cific brand/model (i.e., Qualcomm's Smartphone for
       Snapdragon Insiders; Apple's iPhone 15; Samsung's
       Galaxy S21; Google's Pixel 8), are the species of the
       smartphone.
           The Federal Circuit on 09/08/2022, in Larry
       Golden v. Google LLC, Case No. 22-1267—'^CATED
       AND REMANDED" the relevant Case No. 22-1267
       Document 15;back to the District Court "to be filed and
       request service of process". The Federal Circuit deter
       mined the complaint,"includes a detailed claim chart
       mapping features of an accused product, the Google
       Pixel 5 [species] Smartphone [genus], to independent
       claims from U.S. Patent Nos. 10,163,287, 9,589,439,
       and 9,069,189" . . . "in a relatively straightforward
       manner".. .

           "Mr. Golden's complaint includes a detailed
           claim chart mapping features of an accused
           product, the Google Pixel 5 Smartphone, to
           independent claims from U.S. Patent Nos.
           10,163,287, 9,589,439, and 9,069,189 ... It
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           [claim chart] attempts [] to map claim limita
           tions to infringing product features, and it
           does so in a relatively straightforward man
              ner . . .[W]e conclude that the district court's
              decision in the Google case is not correct with
              respect to at least the three claims mapped
              out in the claim chart. Mr. Golden has made
              efforts to identify exactly how the accused
              products meet the limitations of his claims in
           this chart. . .

           The CAFC ruled that a "smartphone", which is
       the "genus" literally (directly) infringes "independent
       claims from [Petitioner] U.S. Patent Nos. 10,163,287,
       9,589,439, and 9,069,189" . . . because the claim chart
      "map claim limitations to infringing product features,
      and it does so in a relatively straightforward manner
          »




           The specific patents at issue in this case for the
      Petitioner's patented "new, improved upon, and useful
      cell phone and/or smartphone" are U.S. Patents
      9,589,439 ("the '439 patent") that includes eleven
      (11) independent patent claims for the smartphone
      (i.e., new, improved upon, and useful "cell phone");
      9,096,189 ("the '189 patent") that includes nine (9)in
      dependent patent claims for the smartphone (i.e., new,
      improved upon, and useful "cell phone"); 10,163,287
      ("the '287 patent") that includes six (6) independent
      patent claims for the smartphone (i.e., new, improved
      upon, and useful "cell phone"); and, 10,984,619 ("the
      '619 patent") that includes two (2)independent patent
      claims and eighteen (18) dependent patent claims for
      the smartphone (i.e., new, improved upon, and useful
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       "cell phone"). That's a combined total of forty-six (46)
       independent and dependent patent claims for the Peti
       tioner's patented smartphone (i.e., new, improved
       upon, and useful "cell phone").
           In Larry Golden v. Google LLC, Case No. 22-1267,
      the Petitioner only used three (3) of the twenty-eight
      (28)independent patent claims Petitioner has asserted
      in this case against Qualcomm's making, using, offer
      ing for sell, and selling of the Qualcomm Smartphone
      for Snapdragon Insiders; and Qualcomm's use 35
       U.S.C. § 271(a) of hundreds of brands/models of
       smartphones (i.e., handsets) to illegally collect a 5%
       running royalty on the price of each smartphone sold;
       without patent, license, or authorization from Peti
       tioner to do so,goes against everything patent laws are
       written for. Why have 200 years of precedence support
       ing a Patent Owner's right to exclude others from "us
       ing" a patented invention without authorization, only
       to waive that right when the patents are owned by a
       Black and/or African American?

           When Petitioner demonstrated to the District
       Court that Qualcomm's Smartphone for Snapdragon
       Insiders literally (directly) infringes "independent
       claims from U.S. Patent Nos. 10,163,287, 9,589,439,
       and 9,069,189". .. because the claim chart"map claim
       limitations to infringing product features,[] in a rela
       tively straightforward manner . . . ", the District Court
       was bound by the doctrine of vertical stare decisis, to
       uphold the CAFC's decision.
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            Vertical stare decisis binds lower courts to follow
       strictly the decisions of higher courts within the same
       jurisdiction (e.g., the Northern District of California
       Court must follow the decisions ofthe U.S. Court ofAp
       peals for the Federal Circuit). The Supreme Court de
       fines vertical stare decisis as the doctrine, "a lower
       court must strictly follow the decision(s) handed down
       by a higher court within the same jurisdiction".
            A court engages in vertical stare decisis when it
       applies precedent from a higher court. For example, if
       the Northern District of California Court in Golden v.
       Qualcomm,Inc. adhered to a previous ruling from the
       United States Court of Appeals for the Federal Circuit,
       in Larry Golden v. Google LLC,Case No. 22-1267, that
       would be vertical stare decisis.

            Also, under the 35 U.S.C. § 271(a) clause for direct
       infringement: "whoever without authority makes,
       uses, offers to sell, or sells any patented invention,
       within the United States . . . infringes the patent." It
       was determined by the Federal Trade Commission
      (FTC) and the N.D. Cal. Court in 2019 that Qualcomm
      is using Petitioner's patented smartphone invention
      to collect a 5% running royalty on each handset
      [smartphone] sold, without patent, authorization, or
      license to do so. Clearly, Qualcomm has in the past and
      continues to do so today, use Petitioner's patented in
      vention to collects tens of billions of dollars annually.
      Which means Qualcomm is liable for "unjustly enrich
       ing" itself.
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           The District Court and the Federal Circuit can't
       get pass the thought of a Black and/or African Ameri
       can invented the "smartphone" and has decided to ad
       judicate individual claim limitations such as "a lock
       capable of","a vehicle that stops", or "a detection sys
       tem for detecting". This case is about Petitioner's com
      municating, monitoring, detecting, and controlling
      (CMDC) device (i.e., smartphone; improved upon cell
      phone; handset; or communication device), and Qual-
      comm's alleged infringement of Petitioner's CMDC de
       vice.



       III. QUALCOMM ACTIVELY INDUCED THE
               INFRINGEMENT OF PETITIONER'S PA
               TENTS AND CONTRIBUTED TO THE IN
               FRINGEMENT WITH ITS SNAPDRAGON
               CHIPSETS/CPUS

       Indirect Patent Infringement
            Based on the statutes, there are two types of indi
       rect patent infringement:induced patent infringement
       and contributory patent infringement.
           Petitioner's indirect patent infringement
           claims against Qualcomm is an issue-of-fact
           tried by ajury under the Seventh Amendment.
           As the Supreme Court has observed,"[mjainte-
           nance of the jury as a factfinding body is of
           such importance and occupies so firm a place
           in our history and jurisprudence that any
           seeming curtailment of the right to ajury trial
           should be scrutinized with the utmost care."
           Consistent with that approach, the Court has
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           construed the Seventh Amendment broadly to
           protect the right tojury trial.

            Inducement of infringement holds Qualcomm re
       sponsible for inducing infringement of Petitioner's pa
       tent as an infringer. Liability for induced infringement
       is defined by 35 U.S.C. § 271(b); Whoever actively in
       duces infringement of a patent shall be liable as an in
       fringer.

            Qualcomm has induced patent infringement by
       selling its Qualcomm Snapdragon Chipset that "ties"
       Petitioner's patented CPUs,through advertising; with
       instructions; and with a threat to refuse licensing its
       cellular modems for smartphones if the OEMs (i.e.,
       Samsung; Google)does not purchase the two combined
       components [Petitioner's CPUs and Qualcomm's cellu
       lar modems] that forms Qualcomm's Snapdragon
       Chipset/CPU See FTC v. Qualcomm, 411 F. Supp. 3d
       658(N.D. Cal. 2019). The instructions when performed
       by a user of the product lead to direct patent infringe
       ment.


           Petitioner's patented CPU (Qualcomm's Snap
       dragon chipset) is considered the "brains" of the
       smartphone/handset and is capable of carrying out
       the functional and operational instructions of the
       smartphone/handset. Qualcomm knew,or was willfully
       blind, that the "Snapdragon chipsets (CPU)" products
       are configured to infringe Petitioner's '189,'439,'287,
       and '619 Patents upon normal use.

           Contributory patent infringement defines a means
       by which Qualcomm is held liable for patent infringement.
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       This does not require Qualcomm to actually engage in
       the patent infringement. It is found when Qualcomm
       sells its Qualcomm Snapdragon Chipset component to
       be used in Petitioner's patented CMDC product or pro
       cess.



            Qualcomm's liability for contributory patent in
       fringement is defined by 35 U.S.C. § 271(c): "Whoever
       offers to sell or sells within the United States [1 a com
       ponent of [1 a material or apparatus for use in practic
       ing a patented process, constituting a material part of
       the invention, knowing the same to be especially made
       or especially adapted for use in an infringement of
       such patent, and not a staple article or commodity of
       commerce suitable for substantial non infringing use,
       shall be liable as a contributory infringer."
           Additional requirements for induced and contrib
       utory infringement includes proof that Qualcomm
       knew of Petitioner's patent, and acted, encouraged,in
       structed, or threaten, in a manner that infringed Peti
       tioner's patent, and knew or should have known that
       Qualcomm's acts would cause infringement of Peti
       tioner's patent(s). Must also prove that Qualcomm had
       specific intent that its actions would lead to the patent
       infringement.

            Qualcomm's knowledge of Petitioner's patents,
       and intent to directly and indirectly infringe Peti
       tioner's patents, goes back to at least year 2008:
           Petitioner sent President Bush, VP Cheney, and
       U.S. Senators Holland, DeMint, and Graham, three
       economic stimulus packages (SafeRack; V-Tection;
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       ATPG) as solutions to mitigating terrorism acts and
       stimulate the economy that included the technology
       rational for implementing each stimulus package.
           In support of the strategies and for implementa
       tion, President Bush, VP Cheney, and U.S. Senators
       Holland, DeMint, and Graham, sent the three eco
       nomic stimulus packages (SafeRack; V-Tection; ATPG)
       over to the Department of Homeland Security(DHS).
            Following Petitioner's "product grouping" strate
       gies, the DHS issued the DHS S&T BAA07-10 Cell-All
       Ubiquitous Biological and Sensing Solicitation with a
       request for proposal on developing Petitioner's new,
       improved upon, and useful patented ceU phone. Peti
       tioner submitted a proposal for the BAA07-10 Cell-All
       solicitation.

           In 2008, the DHS awarded the white-owned com
       pany Qualcomm the prime contract, alone with six
       other white-owned companies, and a government
       agency (i.e., Synkera, Rheivision, SeaCoast, NASA,
       Qualcomm, Apple, Samsung, and LG) contracts to de
       velop and commercialize Petitioner's new, improved
       upon, and useful patented cell phone.
           The Petitioner, a Black and/or African American,
       who introduced the technology rational and specifica
       tions, and who hold several patents for the new, im
       proved upon, and useful patented cell phone was not
       awarded a contract; nor considered for a patent licens
       ing agreement.
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           "42 U.S.C. § 1981 prohibits race discrimina
           tion in the making and enforcing of con
           tracts. It prohibits racial discrimination
           against whites as well as nonwhites. See
           McDonald v. Santa Fe Trail Transp. Co., 427
           U.S. 273, 295 (1976) (Section 1981 was in
           tended to "proscribe discrimination in the
           making or enforcement of contracts against,
           or in favor of, any race"). In Runyon v.
           McCrary, 427 U.S. 160 (1976), the Supreme
           Court held that Section 1981 regulated pri
           vate conduct as well as governmental action."
           With the knowledge of Petitioner's intellectual
       property, it was always Qualcomm's intention to di
       rectly infringed Petitioner's patents while performing
       work for the Government, and with the protection of
       the Government to avoid infringement liability.
           "[A] 'form factor phone" developed by Qual-
           comm . . . DHS S&T secured Cooperative
           Research and Development Agreements with
           four primary cell phone manufacturers—
           Qualcomm, LG, Apple, and Samsung—
           with the objective of accelerating the "com
           mercialization of technology developed for
           government purposes" . . . as a Qualcomm
           representative argued: "Let's take advantage
           of the 300 million cell phones that are out
           there today. They're always with us" (Hoff
           man, 2011) . . . Qualcomm's role has been to
           develop a smartphone app and the associated
           network software for processing data. Smart-
           phone users can download the app from
           Google Play and, eventually, from Apple's
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           iTunes store, so Cell-All will be operational
           on all phones using either Google's Android
           or Apple's iPhone operating systems." Crowd-
           sourcing urban surveillance: The development
           of homeland security markets for environmen
           tal sensor networks. Torin Monahan Jennifer
           T. Mokos.

           Petitioner alleged in the District Court that the
       copying and selling of Qualcomm's products [Qual-
       comm's Smartphone for Snapdragon Insiders and
       Qualcomm's Snapdragon Chipset-CPU's] that are cov
       ered in Petitioner patents, was made with actual
       knowledge of the patent(s), and intent to do so, satisfy
       the knowledge requirement for willful infringement.
           In Ansell Healthcare Prod. LLC v. Reckitt Benck-
       iser LLC, No. 15-CV-915-RGA, 2018 WL 620968 (D.
       Del. Jan. 30, 2018),"The court noted that, if a defend
       ant was willfully blind to a patent covering a product
       that it copied and then sold, it "could satisfy the
       knowledge requirement for willful infringement, be
       cause the defendant's willful blindness demonstrates
      the same level of culpability as if the defendant copied
      the product with actual knowledge of the patent."
           Because ofsystemic and structural racism; and be
       cause ofjudicial bias, the Petitioner [the Black and/or
       African American denied an award or license in the
       Cell-All initiative] was never allowed to present the
       above issues-of-fact to ajury of Qualcomm's knowledge
      and intent.
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           Petitioner demanded a jury because literal infringe
      ment, infringement under the doctrine of equivalents,
      induced infringement, contributory infringement, and
      willful infringement are all issues-of fact tried by a
      jury under the Seventh Amendment.The jury trial has
      long been the foundation of the American civil justice
      system and is deeply embedded in American culture.
           Petitioner's induced and contributory patent in
       fringement claims against Qualcomm are issues-of-
       fact tried by a jury under the Seventh Amendment.
       The jury trial has long been the foundation of the
       American civil justice system and is deeply embedded
       in American culture. As the Supreme Court has ob
       served,"[m]aintenance ofthe jury as a factfinding body
       is of such importance and occupies so firm a place in
       our history and jurisprudence that any seeming cur
       tailment of the right to a jury trial should be scruti
       nized with the utmost care." Consistent with that
       approach, the Court has construed the Seventh
       Amendment broadly to protect the right to jury trial.

       IV. THE NORTHERN DISTRICT OF CALIFOR
           NIA COURT AND THE FEDERAL TRADE
           COMMISSION IN FTC V. QUALCOMM,411
           F. SUPP. 3d 658 (N.D. CAL. 2019), HAS AL
           READY INVESTIGATED AND DISCOVERED
           QUALCOMM DOES NOT HAVE THE PA
           TENT RIGHTS TO "USE" PETITIONER'S
           PATENTED SMARTPHONE INVENTION
           TO COLLECT BILLIONS IN ROYALTIES

          Petitioner presented the district court's findings
      in FTC V. Qualcomm, 411 F. Supp. 3d 658 (N.D. Cal.
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       2019) as evidence Qualcomm was unjustly enriching
       itself by collecting royalties of5% on each handset(i.e.,
       new,improved upon, or useful cell phone)sold. District
       Judge Lucy H. Koh concluded Qualcomm is being un
       justly enriched from its anticompetitive practices:
           "Qualcomm stopped licensing rival modem
           chip suppliers and instead started licensing
           only OEMs (i.e., Samsung, Google, etc.) at a
           5% running royalty on the price ofeach hand
           set sold. These licenses are called Subscriber
           Unit License Agreements("SULA")"
           "Specifically, Qualcomm charges a 5% run
           ning royalty on handset sales for a license to
           Qualcomm's CDMA patent portfolio. Qual-
           comm's 5% royalty rate on the price of each
           phone sold is a species of unfair competition.
           The Federal Trade Commission Act bans "un
           fair methods of competition" and "unfair or
           deceptive acts or practices."
               "Qualcomm has capped the maximum
               royalty base or net selling price of the
               handset at $400. Tr. at 1979:19-23; see
               also JXO122-010 (royalty base cap in
               SULA between Samsung and Qual
               comm). In some SULAs, Qualcomm
               charges an upfront fee in addition to the
               running royalty rate on handset sales.
               See JX0042-011"

               "Under the 2004 SULA Amendment,LGE
               paid Qualcomm a 5% running royalty on
               handsets containing Qualcomm modem
               chips and a 5.75% running royalty on
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                 handsets containing non-Qualcomm mo
                 dem chips". .."Under the May 2012 Sony
                 Interim License, Sony agreed to provi
                 sionally pay Qualcomm a 5% royalty on
                 CDMA handsets" . . . "The 2014 SULA
                 requires Huawei to pay a 5% running roy
                 alty rate on devices containing WCDMA
                 technology and a 3.5% running royalty
                 rate on devices containing LTE technol
                 ogy ■ ■ ■"
            This evidence was never disputed by Qualcomm
       and the evidence was never rejected at the Ninth Cir
       cuit. See id.    76-78; cf. FTC v. Qualcomm Inc., 969
       F.3d 974, 1001-1002 (9th Cir. 2020) (finding no anti
       trust violation based on "no license, no chips"). Qual-
       comm's 5% running royalty on the price of each
       handset sold, and Qualcomm's "no license, no chips"
       policies are separate issues that harms the Patent Sys
       tem and Petitioner; not competitors.
            Qualcomm is being unjustly enriched for charging
       a 5% royalty rate per the price of the phone, i.e.. Peti
       tioner's CMDC device; handset; smartphone, etc. Peti
       tioner has the right to exclude Qualcomm from "using"
       Petitioner's CMDC devices—handsets to unjustly en
       rich itself.

            Petitioner is entitled to stop Qualcomm's "use" of
       Petitioner's inventions to generate revenue (5% royalty
       on each handset sold) by seeking a legal injunction in
       Federal Court.
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           The Trial Court further restrains Petitioner from
       possibly collecting damages by refusing Petitioner his
       Seventh Amendment right to a trial-by-jury.
            Under patent law Petitioner can collect damages
       for Qualcomm's unauthorized and illegal "use" of Peti
       tioner's patented CMDC(smartphone) devices.
            Also, the described antitrust injury to Petitioner is
       of a type that the antitrust laws were intended to pre
       vent; and the Petitioner's injury flows from that which
       makes Qualcomm's acts unlawful. The FTC bans "un
       fair or deceptive acts or practices."
            It has been the Petitioner's experience, as an Afri
       can American inventor who own patents, and the right
       to exclude others from making, using, offering for sell,
       and selling Petitioner's patented inventions, and the
       right to sue infringers; that the experience is no differ
       ent than someone who decides to sue without owning
       patents.

           Petitioner owns the patents rights for the
      smartphone. The specific patents at issue in this case
      for the Petitioner's patented "new,improved upon, and
      useful cell phone and smartphone" are U.S. Patents
      9,589,439 ("the '439 patent") that includes eleven (11)
      independent patent claims for the smartphone (i.e.,
      new, improved upon, and useful "cell phone");
       9,096,189 ("the '189 patent") that includes nine (9)in
      dependent patent claims for the smartphone (i.e., new,
      improved upon, and useful "cell phone"); 10,163,287
      ("the '287 patent") that includes six (6) independent
      patent claims for the smartphone (i.e., new, improved
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      upon, and useful "cell phone"); and, 10,984,619 ("the
      '619 patent") that includes two(2)independent patent
      claims and eighteen (18) dependent patent claims for
      the smartphone (i.e., new, improved upon, and useful
      "cell phone"). That's a combined total of forty-six (46)
      independent and dependent patent claims for Peti
      tioner's patented smartphone (i.e., new, improved
      upon, and useful "cell phone").
           How is it possible the District Court and Appellate
       Court can ignore Petitioner's forty-six (46) independ
       ent and dependent patent claims for Petitioner's pa
       tented smartphone and allow Qualcomm to collect tens
       of billions in royalties each year on the sale of millions
       of smartphones that Qualcomm does not have the pa
       tent rights on; "But-For" Qualcomm is a White-owned
       company and the Petitioner is a Black and/or African
       American?

            On March 23, 2020, the Supreme Court of the
       United States, in Comcast Corp. v. National Associa
       tion of African-American Owned Media, ruled that a
       plaintiff who alleges race discrimination [] has the []
       burden of showing that race was a [B]ut-for cause of[]
      injury.
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       V.    THE U.S. COURT OF APPEALS FOR THE
             FEDERAL CIRCUIT IN GOLDEN V.
             GOOGLE, CASE NO. 22-1267, HAS AL
             READY DETERMINED A "SMARTPHONE"
             LITERALLY INFRINGES CERTAIN INDE
             PENDENT CLAIMS OF PETITIONER'S PA
             TENTS; THEREFORE, THE                 BURDEN
             IS ON QUALCOMM TO SHOW ITS
             SMARTPHONE AND THE THOUSANDS
             OF SMARTPHONE MODELS QUALCOMM
             COLLECTS A 5% RUNNING ROYALTY
             FROM DOES NOT INFRINGE THE SAME
             INDEPENDENT   CLAIMS  OF   PETI
             TIONER'S PATENTS

            The Federal Circuit on 09/08/2022, in Larry
       Golden v. Google LLC, Case No. 22-1267—''VACATED
       AND REMANDED" the relevant Case No. 22-1267
       Document 15; back to the District Court "to be filed and
       request service of process". The Federal Circuit deter
       mined the complaint,"includes a detailed claim chart
       mapping features of an accused product, the Google
       Pixel 5 [species] Smartphone [genus], to independent
       claims from U.S. Patent Nos. 10,163,287, 9,589,439,
       and 9,069,189" . .. "in a relatively straightforward
       manner". . .

            "Mr. Golden's complaint includes a detailed
            claim chart mapping features of an accused
            product, the Google Pixel 5 Smartphone, to
            independent claims from U.S. Patent Nos.
            10,163,287, 9,589,439, and 9,069,189 .. . It
            [claim chart] attempts [] to map claim limita
            tions to infringing product features, and it
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           does so in a relatively straightforward man
           ner ...[Wle conclude that the district court's
           decision in the Google case is not correct with
           respect to at least the three claims mapped
           out in the claim chart. Mr. Golden has made
           efforts to identify exactly how the accused
           products meet the limitations of his claims in
           this chart. . .

            Under 35 U.S.C. § 282: "[a] patent shall be pre
       sumed valid. Each claim of a patent(whether in inde
       pendent, dependent,or multiple dependent form)shall
       be presumed valid independently of the validity of
       other claims; dependent or multiple dependent claims
       shall be presumed valid even though dependent upon
       an invalid claim. The burden of establishing invalidity
       of a patent or any claim thereof shall rest on the party
       asserting such invalidity".

           The Petitioner has asserted forty-six (46) pre
      sumed valid independent and dependent patent claims
      for the Petitioner's patented smartphone (i.e., new,im
      proved upon, and useful "cell phone") invention and
      twenty-three (23)presumed valid independent and de
      pendent patent claims for a "central processing unit
      (CPU)" designed for Petitioner's smartphone inven
       tion.

            How is it possible the District Court and Appellate
       Court can ignore Petitioner's forty-six (46) independ
       ent and dependent patent claims for Petitioner's pa
       tented smartphone and allow Qualcomm to collect tens
       of billions in royalties each year on the sale of millions
       of smartphones that Qualcomm does not have the
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       patent rights on,without compelling Qualcomm to pre
       sent evidence its smartphone and the smartphone
       brand/models Qualcomm collects a running 5% royalty
       from does not infringe Petitioner's patents; "But-For"
       Qualcomm is a White-owned company and the Peti
       tioner is a Black and/or African American?

            On March 23, 2020, the Supreme Court of the
       United States, in Comcast Corp. v. National Associa
       tion of African-American Owned Media, ruled that a
       plaintiff who alleges race discrimination under 42
       U.S.C. § 1981 must plead and has the ultimate burden
       ofshowing that race was a [B]ut-for cause ofthe plain
       tiff's injury, and that burden remains constant over
       the life of the lawsuit.


       VL SYSTEMIC/STRUCTURAL RACISM AND
            JUDICIAL BIAS AGAINST PETITIONER,
            A BLACK AND/OR AFRICAN AMERICAN
            LITIGANT, IN THE DISTRICT AND AP
            PELLATE COURTS

           The Supreme Court must deliver justice in this
       case, in a manner that inspires public trust and confi
       dence. The Supreme Court must inform the District
       Court and the Appellate Court that all individuals
       must be treated fairly and impartially in every inter
       action with the court system. To achieve public trust
       and confidence, the existence of systemic racism in Pe
       titioner's case against Qualcomm must be acknowl
       edged.
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           Specifically, the Supreme Court must recognize
       that the Petitioner, a Black and/or African American,
       who have contact with the legal system through the
       various Courts, have often not been treated equitably
       or with the same dignity and respect as Petitioner's
       white counterparts.
           Systemic and structural racism are forms of rac
       ism that are pervasively and deeply embedded in sys
       tems, laws, and entrenched practices and beliefs that
       produce, condone, and perpetuate widespread unfair
       treatment and oppression of Blacks and/or African
       Americans.They reflect both ongoing and historical in
      justices.

           An example of systemic racism and judicial bias:
      As an African American inventor who has in the past,
      and currently is, suing White-owned companies like
      Qualcomm for infringement, the District and Appel
      lant Courts opinions are the same as if someone, any
      one, tried to sue without a patent. Examples: 1- the
      case is frivolous; 2- did not state a claim for relief; 3-
      lack subject matter jurisdiction; 4- we are not per
      suaded; 5- did not state enough facts; 6- page-count is
      to high; 7- barred by preclusion; 8- barred by the Kess-
      ler doctrine; 9- time-harred because of statute of limi
      tation; 10- don't deserve oral argument; 11- have not
      stated an injury; 12- cannot claim patent infringement
      as a takings; 13- cannot claim CPUs as CBRNE sen
      sors; 14- cannot identify sensors inside the device; 15-
      cannot prove infringement; and, 16- don't deserve a
      chance to amend.
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           An example ofjudicial bias against Petitioner as a
       Black and/or African American: Under the DHS Cell-
       All initiative, Qualcomm entered into a contract with
       the DHS ["the Government"] to assemble and commer
       cialize Petitioner's new,improved upon, and useful cell
       phone devices and CPUs, alone with NASA, and six
       other White-owned companies [Synkera, SeaCoast,
       Apple, Samsung, LG, and Rhevision], who was tasked
       with developing and manufacturing the CBRNE sen
       sors and detectors.

            The CFC Court knew, or should have known,that
       the '^Cell-All" cell phone sensing device could never be
      "suitable for use" without the inclusion of the CBRNE
       sensors of NASA, Synkera, SeaCoast, and Rhevision,
       and CPUs of Qualcomm.

           The Federal Circuit in       LLC v. U.S.,"[W]e
       interpret"manufactured"in § 1498[]such that a prod
       uct is "manufactured" when it is made to include each
      limitation of the thing invented and is therefore "suit
      able for use". Petitioner's CMDC cell phone sensing de
      vice limitations requiring CBR sensors and CPUs was
      rejected by the CFC Court as enhancing or enlarging
      the case, and was thereby dismissed.

           The prime contractor in the case Qualcomm re
      sponsible for providing three of the four major compo
      nents of the new and improved cell phone, alone with
      all the other contractors with the exception of Apple,
      was dropped from the case.

          An example ofjudicial bias against Petitioner as a
      Pro Se litigant: Mr. Anthony Johnson was a Pro Se
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       litigant who experienced judicial bias in very much the
       same way as Petitioner. The major difference is Mr.
       Johnson was at least granted a jury trial. See Storix,
       Inc. V. Anthony Johnson—Case Study-Judicial
       Bias. Topics:"Judicial Abuse Against Pro Se Civil Lit
       igants"; "Bias Against Pro Se Litigants"; "Judicial
       Abuse is Pervasive and Unchecked";"The More Clear
       the Judicial Bias, the More Likely the Decisions Will
       Be Upheld on Appeal"; "The Most Abused Civil Liti
       gant in U.S. History that Multiple Courts Will Stop at
       Nothing    to   Keep     Quiet".    https://www.judicial-
       abuse.com/pro-se-bias
           Mr. Johnson's legal research, pleadings and argu
      ments far surpassed that of the prestigious attorneys
      who opposed him. And that's why you will never see
      Mr. Johnson's arguments in any ofthe orders and opin
      ions ofthe courts. The judges simply would not allow a
      self-represented plaintiff to win against their favored
      attorneys; but they concealed their judicial bias in am
      biguous rulings that left out anything that would show
      the absurdity of their decisions.
           Mr. Johnson's case disproves the common miscon
      ception that everyone who complains about a biased
      judge is just a disgruntled loser. It took a pro se litigant
      to expose the rampant bias of civil courtjudges, and no
      one, other than the Petitioner, a Black and/or African
      American, has endured such clear legal abuse by so
      many judges, that has lasted so long against the Big-
      Law attorneys they support.
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           In July of this year 2023, Mr. Johnson committed
       suicide. While it cannot be proven at this point,it is the
       belief of Petitioner that the ex-employees; the trial
       court judges; and,several courts of appeals caused the
       decision of Mr. Johnson to end his life. Mr. Johnson was
       tasked with defending himself against a bunch of evil
       people and a stable of corrupted Judges."Ditto".


       VII. THE FIFTH AMENDMENT "DUE PRO
            CESS"CLAUSE OF THE UNITED STATES
             CONSTITUTION

           The Due Process Clause of the Fifth Amendment
      generally prohibit federal governments [judges in
      cluded] from "depriving any person of [intellectual]
      property, without due process of law." Due process,
      while not "precisely defined," generally refers to a "fun
      damental fairness" requirement when the government
      [judges included] seeks to burden an individuafs prop
      erty interests. According to the Supreme Court, the
      "touchstone" of due process is "the protection of the in
      dividual against arbitrary action of government
      [judges]."
           Without due process of law and without research
      ing the facts in Golden v. USA (13-307C) to discover it
      was the DHS who awarded in 2008, seven White-
      owned companies and a government agency [Qual-
      comm, Synkera, Apple, Rhevision, SeaCoast, NASA,
      Samsung,LG] contracts to develop and commercialize
      the intellectual property of the Petitioner; the Black
      and/or African American, who submitted a proposal in
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       response to the DHS S&T BAA07-10 solicitation; Jus
       tice Breyer in Return Mail v. U.S. Postal Service dis
       sented on behalf of the DHS and the prime contractor
       Qualcomm with comments that placed Petitioner's life
       and the lives of Petitioner's family in danger.
           "Justice Breyer dissents in Return Mail, Inc.
           V. United States Postal Service et al. 587 U.S.
               (2019) When, for example, the Depart
           ment of Homeland Security recently insti
           tuted a research initiative to equip cell phones
           with hazardous-materials sensors in order to
           mitigate the risk of terrorist attacks, it faced
           an infringement lawsuit that threatened to
           interfere with the project. See Golden v.
           United States, 129 Fed. CL 630 (2016); Brief
           for Prof. Tejas N. Narechania as Amicus Cu-
           riae 9."

            What if, an American patriot who believes Peti
       tioner is working for terrorist and is placing him and
       his family lives in danger, may take it upon himself to
       end the threat that interferes with the DHS initiative
       to mitigate terrorist attacks.

            The District court in this current case, Golden v.
       Qualcomm, participated in the takings of Petitioner's
       property without due process of law, by admitting the
       Court never adjudicated Petitioner's case on the mer
       its; the Appellate court erred in affirming the lower
       court's dismissal.

          In Larry Golden v. Qualcomm, Inc. "Order Grant
      ing Motion to Dismiss"; Case 4:22-cv-03283-HSG Doc
      ument 49 Filed 03/15/23 Page 3 of6:"[bjecause Golden
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       neither breaks his allegations down into counts, nor
       provides a numbering system ...[t]he Court's chal
       lenge here is compounded because Plaintiff has at
       tached nearly 1,200 pages of documents to the
       complaint" . . . "[t]he Court need not, and will not,
       wade through the attachments . . . Petitioner's
       patent infringement claims against Qualcomm is an
       issue-of-fact tried by a jury under the Seventh Amend
       ment. The attachments show evidence of Qualcomm's
       knowledge, willful infringement, direct and indirect in
       fringement.

           The District Court, by its own admission, never
       adjudicated the case on the merits. The Court immedi
      ately ruled in Qualcomm's favor without due process of
      law. How is it possible "But For" Qualcomm is a White-
       owned company and the Petitioner is a Black and/or
       African American.



       VIIL THE DISTRICT COURT DENIED PETI
            TIONER HIS SEVENTH AMENDMENT
             RIGHT TO A TRIAL BY JURY

            This Court has enough facts to reverse the lower
       Court's decision to deny Petitioner his Seventh Amend
       ment right to a jury, and Qualcomm's infringement li
       ability. Petitioner's patent infringement claims against
       Qualcomm are issues-of-fact to be tried by a jury under
      the Seventh Amendment.

           If this Court decides to ignore Petitioner's claim
      that Qualcomm is unjustly enriching itself when Qual
      comm collects 5% running royalties on the price ofeach
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       of Petitioner's patented new, improved upon, and use
       ful cell phone; smartphone, and NOT order a trial, the
       Court is literally setting new precedence that the Con
       stitutional provision which states "anyone who makes,
       uses, offers for sell, or sells patented others, without
       authorization, is liable for direct infringement as de
       fined by 35 U.S.C. § 271Ca), induced infringement as
       defined by 35 U.S.C. § 271(b), and, contributory in
       fringement as defined by 35 U.S.C. § 271(c)" is no
       longer valid and any company who wants to "use" an
       other's patented invention to collect a running royalty
       on the price of the invention, is free to do so without
       fear of being accused of infringing.
           If this Court decides to ignore Petitioner's patents
       and patent claims asserted in this case, the Court is
       substantiating a "loop hole" for invalidating patents
       and patent claims without claim construction or a
       Markman hearing. The "loop hole" is: by den3dng or
       avoiding trial at all cost, Qualcomm does not have to
       prove the patents and patent claims are invalid,
       thereby invalidating the patents and patent claims
       and rendering them worthless against Qualcomm.
           The Constitutional provision for invalidating pa
      tents and patent claims is no longer applicable or rele
      vant. The Supreme Court in Microsoft v. i4i affirmed
      that 35 U.S.C. § 282 ofthe Patent Act requires an inva
      lidity defense to be proved by clear and convincing ev
      idence.

           The primary purpose of the Seventh Amendment
      is to preserve the common law distinction between the
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       province of the court and that of the jury, whereby, in
       the absence of express or implied consent to the con
       trary,issues oflaw are resolved by the court and issues
       of fact are to be determined by the jury under appro
       priate instructions by the court. Baltimore & Carolina
       Line v. Redman, 295 U.S. 654, 657 (1935); Walker v.
       New Mexico & So. Pac. R.R., 165 U.S. 593, 596 (1897);
       Gasoline Products Co. v. Champlin Ref. Co., 283 U.S.
       494, 497-99 (1931); Dimick v. Schiedt, 293 U.S. 474,
       476, 485-86 (1935).




                         CONCLUSION

           For the foregoing reasons, the Court should grant
      this petition.

                             Respectfully submitted,
                             Larry Golden, Petitioner, Pro Se
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                             atpg-tech@charter.net
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                                                             No.


                                                           LARRY GOLDEN,
                                                              Petitioner,
                                                                       V.

                                                          QUALCOMM INC.,
                                                            Respondent.

                                                CERTIFICATE OF COMPLIANCE

                  As required by Supreme Court Rule 33.1(h), I certify that the PETITION FOR WRIT OF
         CERTIORARI in the above entitled case complies with the typeface requirement of Supreme Court
         Rule 33.1(b), being prepared in New Century Schoolbook 12 point for the text and 10 point for the
         footnotes, and this brief contains 8997 words, excluding the parts that are exempted by Supreme
         Court Rule 33.1(d), as needed.




Subscribed and sworn to before me this 5th day of January, 2024.
I am duly authorized under the laws of the State of Nebraska to administer oaths.



         State of Nebraska - General Notary
                ANDREW COCKLE
              My Commission Expires
                    Aprils, 2026
                                                       Notary Public                            Affiant        v


                                                                                                                                     44630
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           Note: This disposition is nonprecedential.
                United States Court of Appeals
                    for the Federal Circuit



                       LARRY GOLDEN,
                       Plaintiff-Appellant
                                 V.


                QUALCOMM INCORPORATED,
                    Defendant-Appellee


                            2023-1818


           Appeal from the United States District Court for
       the Northern District of California in No. 4:22-cv-
       03283-HSG,Judge Haywood S. Gilliam, Jr.


                    Decided: October 10, 2023


           Larry Golden, Greenville, SC, pro se.
           John Allen Yates, Patterson & Sheridan LLP,
       Houston,TX,for defendant-appellee. Also represented
       by Kyrie Cameron.


           Before Lourie, Bryson, and Chen, Circuit Judges.
      Per Curiam.

           Larry Golden appeals from an order of the United
      States District Court for the Northern District of Cali
      fornia dismissing his antitrust, patent infringement,
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       and unjust enrichment claims. Golden v. Qualcomm,
       Inc,, No. 22-CV-03283, 2023 WL 2530857 (N.D. Cal.
       Mar. 15, 2023)("Decisio/i")- For the following reasons,
       we affirm.


                            Background

           Golden owns various patents directed to systems
      for locking, unlocking, or disabling a lock upon the de
      tection of chemical, radiological, or biological hazards.
      The specific patents at issue in this case are U.S. Pa
      tents 9,589,439("the'439 patent"),9,096,189("the'189
      patent"), 10,163,287 ("the '287 patent"), 10,984,619
      ("the'619 patent"). Appellant's Br. at 2. On several pre
      vious occasions, Golden has unsuccessfully asserted in
      fringement of those patents against other defendants.
      See, e.g., Golden v. Apple Inc., No. 2023-1161, 2023 WL
      3400595(Fed. Cir. May 12,2023); Golden v. Intel Corp.,
      No. 2023-1257, 2023 WL 3262948 (Fed. Cir. May 5,
      2023); Golden v. United States, No. 2022-1196, 2022
      WL 4103287(Fed. Cir. Sept. 8, 2022).
           Golden filed the present suit against Qualcomm
       Inc.("Qualcomm") on June 6, 2022. The district court
       interpreted the complaint,which included nearly 1,200
       pages of attachments, as alleging (1) patent infringe
       ment,(2) antitrust violations, and (3) unjust enrich
       ment. Decision at *2. After Qualcomm moved to
       dismiss Golden's complaint for failure to state a claim
       under Rule 12(b)(6) of the Federal Rules of Civil Pro
       cedure, the district court granted the motion without
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       leave to amend. Decision at *4. Golden appeals. We
       have jurisdiction under 28 U.S.C. § 1295(a)(1).


                             Discussion

            This court applies the law of the regional circuit
       when reviewing a motion to dismiss. In re Bill ofLad
       ing Transmission & Processing Sys. Pat. Litig.,681 F.Sd
       1323, 1331(Fed. Cir. 2012). The Ninth Circuit reviews
       challenges to a dismissal for failure to state a claim
       under Rule 12(b)(6)de novo. Decker v. Advantage Fund,
       Ltd., 362 F.3d 593, 595 (9th Cir. 2004).

           Rule 12(b)(6) requires "well-pleaded facts, not le
       gal conclusions, that plausibly give rise to an entitle
       ment to relief." Whitaker u. Tesla Motors, Inc., 985 F.Sd
       1173, 1176 (9th Cir. 2021) (citing Bell Atl. Corp. v.
       Twombly, 550 U.S. 544, 570 (2007); Ashcroft v. Iqbal,
       556 U.S. 662,679(2009)).

           Because Golden appeals the district court's dis
       missal as to each of his (1) patent infringement,(2) an
       titrust violation, and (3) unjust enrichment claims, we
       discuss each issue in turn.



                                  I

           Regarding patent infringement, although a plain
      tiff"need not prove its case at the pleading stage" and
      "is not required to plead infringement on an element-
      by-element basis," it "cannot assert a plausible claim
      for infringement under the Iqbal/Twombly standard by
      reciting the claim elements and merely concluding
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       that the accused product has those elements." Bot M8
       LLC V. Sony Corp. ofAm.,4 F.4th 1342, 1352-53(Fed.
       Cir. 2021)(internal citations and quotations omitted).
            The district court here found that Golden failed to
       adequately plead (1) direct infringement,(2) contribu
       tory infringement, or (3) induced infringement. Deci
       sion at ^'3.

           Concerning direct infringement, the district court
       faulted Golden for failing to explain what Qualcomm
       product supposedly infringed the asserted patents, or
       how. Id. Although the complaint did include two claim
       charts,the district court found those irrelevant as they
       only covered products produced by two non-parties,
       GM and Samsung, not Qualcomm.Id.
           On appeal, Golden argues that he "illustrates how
       Qualcomm is infringing Plaintiff's patented ... de
       vices" and provides several technical specification ta
       bles and figures relating to Qualcomm's "Snapdragon"
       chipset. Appellant's Br. at 11-26. Qualcomm responds
       that Golden added new factual allegations in his oppo
       sition and reply brief at the district court, as well as
       in his opening brief on appeal, that were not included
       in his district court complaint. Appellee's Br. at 23.
       Qualcomm further argues that even if those belated
       arguments are considered, they still do not state a
       plausible direct infringement claim. Id.

           We agree with the district court that Golden's com
       plaint failed to sufficiently plead a claim for direct in
       fringement. It failed to clearly identify which specific
       claims of the asserted patents are being infringed.
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       Furthermore, Golden's complaint failed to clearly iden
       tify which Qualcomm products infringe the asserted
       patents. To the extent that references in the complaint
       can be read to imply that Qualcomm's "phone for Snap
       dragon Insiders" and/or "Snapdragon Ride Platform"
       are the alleged infringing products, S.A. 40-42, the
       complaint did not adequately explain how those prod
       ucts infringe the asserted patent claims. As the district
       court noted, Golden included two claim charts in his
       complaint. Decision at '''3. However,these claim charts
       only reference products made by two non-parties, GM
       and Samsung, not products made by Qualcomm, the
       accused infringer in this case.

           Golden argues that the claim charts in this com
       plaint are enough to adequately plead patent infringe
       ment because they "mirror" a claim chart presented in
       a previous case. Golden v. Apple Inc., No. 2022-1229,
       2022 WL 4103285(Fed. Cir. Sept. 8, 2022). Appellant's
       Br. at 2. However, Golden's complaint contains no such
       reliance on that previous claim chart, neither directly
       nor through incorporation by reference. Such a refer
       ence on appeal is improper, as a complaint must in
       clude "enough facts to state a claim to relief that is
       plausible on its face." Twombly,550 U.S. at 570.
            Moreover, Golden v. Apple Inc. provides no help in
       this context because this court explicitly stated there
       that "[w]e express no opinion as to the adequacy ofthe
       complaint or claim chart except that it is not facially
       frivolous." Golden v. Apple Inc., No. 2022-1229, 2022
       WL 4103285, at *2 (Fed. Cir. Sept. 8, 2022). We made
       clear that "the    district   court should   allow   the
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       complaint to be filed and request service of process;"
       however,"[o]ur decision [did] not preclude subsequent
       motions to dismiss by the defendant for failure to state
       a claim."Id. We thus agree with the district court that
       Golden failed to adequately plead direct infringement
       by Qualcomm or its customers, as his complaint does
       not include allegations beyond the identity of the de
       fendant, implied references to the alleged infringing
       devices, and the alleged infringed-upon patents.^ Deci
       sion at ^^2-3; see also Golden v. Apple, No. 20-cv-04353,
       2021 WL 5074739 at "^'2, aff'd as to that holding,
       No.22-1229,2022 WL 4103285(Fed. Cir. Sept.8, 2022).
           Because Golden has failed to adequately plead di
      rect infringement by Qualcomm or its customers in
      this case, his complaint also fails to sufficiently plead
      contributory or induced infringement. See Deepsouth
      Packing Co. v. Laitram Corp., 406 U.S. 518 (1972). We
      thus agree with the district court that "[Golden] fails
      to plausibly or adequately plead patent infringement."
       Decision at *2.




          'For the first time in this case, in a supplemental appendix
       attached to his Appellant's Reply Brief, Golden included a claim
       chart mapping features of Qualcomm's Snapdragon phone to
       limitations in specific claims of the asserted patents. Appellant's
       Reply Brief Appendix at 85-92. Such a submission is untimely and
       will not be considered. A complaint must include "enough facts to
       state a claim to relief that is plausible on its face." Twombly,550
       U.S. at 570; see also Braun Inc. v. Dynamics Corp. of Am., 975
       F.2d 815, 821 (Fed. Cir. 1992)("We generally will not consider
       issues that were not presented in the district court."(internal ci
       tations omitted)).
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                                  II

           A party seeking to bring a private antitrust action
      must establish antitrust injury. American Ad Mgmt.,
      Inc. u. Gen. Tel. Co. of Cat., 190 F.3d 1051, 1054 & n.3
      (9th Cir. 1999); Cargill,Inc. v. Monfort ofColorado,Inc.,
      479 U.S. 104, 110 n.5 (1986). To plead antitrust injury,
      a party must allege that it suffered the suffered the
      type ofinjury that antitrust laws were designed to pre
      vent. American Ad Mgmt., 190 F.3d at 1055, 1057.The
      Supreme Court has identified five factors for determin
      ing whether a plaintiff who has borne an injury has
      antitrust standing:(1) the nature of the plaintiff's al
      leged injury; that is, whether or not it was the type the
       antitrust laws were intended to forestall,(2)the direct
       ness of the injury, (3) the speculative measure of the
       harm,(4) the risk of duplicative recovery, and (5) the
       complexity in apportioning damages.Id. at 1054(sum
       marizing the factors identified in Associated Gen. Con
       tractors of California, Inc. v. California State Council
      ofCai^penters,459 U.S. 519(1983)). Although no single
      factor is dispositive, id. at 1055 (citing R.C. Dick Geo-
      thermal Corp. v. Thermogenics, Inc., 890 F.2d 139, 146
      (9th Cir.1989)(en banc)), the injured party must "be a
      participant in the same market as the alleged malefac
      tors," Bhan v. NME Hosps., Inc., 772 F.2d 1467, 1470
      (9th Cir. 1985)(citing Associated Gen. Conti'actors,459
       U.S. at 538-39).

           The district court found Golden's antitrust claims
      to be frivolous based on his failure to plead antitrust
      standing. Decision at *2. The court found that Golden
       did not allege that he is a participant in the same
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       market as Qualcomm or that he suffered antitrust in
       jury in that market. Id. Rather, the court found that
       Golden failed to allege the contours of the relevant
       market whatsoever. Id.

            On appeal, Golden argues that the district court
       misinterpreted his antitrust injury claim by discount
       ing the evidentiary value provided by Federal Trade
       Commission v. Qualcomm Inc., 411 R Supp. 3d 658,
       675 (N.D. Cal. 2019), rev'd and vacated, 969 F.Sd 974
       (9th Cir. 2020) regarding a running royalty rate
       charged by Qualcomm. Appellant's Br. at 5-6. Golden
       also argues that the district court did not give ade
       quate weight to his "t3dng" arrangement arguments.
       Id. at 7. Qualcomm responds that (1) Golden's anti
       trust claims are time-barred,(2) Golden failed to ade
       quately plead his participation in the same market as
       Qualcomm, and (3) Golden failed to adequately plead
       injury suffered in that market.Appellee's Br. at 14-18.
            Although Golden's complaint contains general al
       legations that Qualcomm's activities "substantially af
       fected the flow of interstate commerce," S.A. 23,it fails
       to allege that Golden is a participant in the same mar
       ket as Qualcomm. In fact, Golden's complaint seems to
       allege that he is not a participant in the same market
       as Qualcomm. S.A. 36 ("Qualcomm's anticompetitive
       practices has [sic] restrained Plaintiff from entering
       the market to collect royalties on his patented inven
       tions."). Moreover, Golden's complaint fails to ade
       quately address his injury's directness, speculative
       nature, or complexity in apportioning damages. In
       stead,the complaint alleges injury only in a conclusory
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       fashion.See,e.g.,S.A. 36("Qualcomm's anticompetitive
       practices has [sic] restrained Plaintiff from entering
       the market to collect royalties on his patented inven
       tions. Plaintiffis entitled to collect damages for any un
       licensed use of his inventions. Damages are generally
       calculated based on lost profits Plaintiff suffered as a
       result ofthe use."). Although Golden's complaint seems
       to reference patent infringement as the purported in
       jury in this way, we have determined that Golden
       failed to properly plead patent infringement,supra.
            To the extent that Golden attempts to premise his
       antitrust claim on a barrier to entry, we agree with the
       district court that this is "fatally implausible," as
       Golden "is free to license his patents to whoever wants
       to license them, but [Golden's conclusory] theory does
       not state a viable antitrust claim." Decision at ^^2.
       Golden's arguments on appeal explaining the limited
       relevance ofa district court case that was subsequently
       reversed and vacated, and clarifying his tying claim,do
       not remedy the insufficiency of his pleading. We thus
       agree with the district court that Golden has failed to
       plausibly plead an antitrust claim.


                                 Ill

           Based on Golden's failure to state a claim for pa
       tent infringement, the district court held that he also
       failed to state a claim for unjust enrichment.This court
       has recognized that "unjust enrichment is not recog
       nized under California law as a separate cause of ac
       tion." Golden v. Intel Corp., No. 2023-1257, 2023 WL
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       3262948, at =^2 n.3 (Fed. Cir. May 5, 2023) (citing
       McBride v. Boughton, 123 Cal. App. 4th 379, 387
       (2004)). Because Golden failed to adequately plead pa
       tent infringement,we agree with the district court that
       he also failed to state plausible a claim for unjust en
       richment.



                            Conclusion

           We have considered Golden's remaining argu
       ments but find them unpersuasive. For the foregoing
       reasons,the order of the district court is affirmed.
                           AFFIRMED
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                 UNITED STATES DISTRICT COURT

            NORTHERN DISTRICT OF CALIFORNIA


       LARRY GOLDEN,              Case No. 22-cv-03283-HSG
                 Plaintiff,       ORDER GRANTING
            V.                    MOTION TO DISMISS

       QUALCOMM,INC.,             Dkt. No.6

                 Defendant.       (Filed Mar. 15, 2023)


       I.   BACKGROUND

            This case is one of several Plaintiff has filed in
       different districts over a period of years raising over
       lapping or materially identical claims. See Golden v.
       Intel Corp., No. 22-cv-03828-NC, 2022 WL 17735388,
       at ==4-5 (N.D. Cal. Nov. 22, 2022), Dkt. No. 31 at 4-5,
       7-8 (order granting motion to dismiss without leave to
       amend and listing prior cases); Golden v. Apple, Inc.,
       No. 22-CV-04152-VC (N.D. Cal. Oct. 20, 2022), Dkt. No.
       29(dismissing complaint without leave to amend,and
       observing that "Golden has been pressing these frivo
       lous claims (or some variation thereof) for nearly 10
       years in multiple jurisdictions").

            With one exception, every case of which the Court
       is aware in which a court has issued a ruling has been
       dismissed as frivolous, in either this district, the Dis
       trict of South Carolina, or the Federal Court of Claims.
       Golden v. Apple Inc., No. 19-cv-02557-DCC, 2020 WL
       415896, at =2-3 (D.S.C. Jan. 27, 2020), aff'd, 819 Fed.
       App'x. 930, 931 (Fed. Cir. 2020) (affirming dismissal
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       "not on the basis of duplicity, but on the ground offriv-
       oiousness"); Golden v. Apple Inc., No. 20-cv-02270-JD-
       KFM, 2021 WL 4260782, at *2-3 (D.S.C. Sept. 20,
       2021), aff'd, No. 21-2160, 2022 WL 986984, at *1 (4th
       Cir. Mar. 31, 2022); Golden v. Apple Inc., No. 20-cv-
       04353-JD-KFM, 2021 WL 5074739, at *2-3 (D.S.C.
       Nov. 2, 2021), aff'd, No. 22-1229, 2022 WL 4103285, at
       *2(Fed. Cir. Sept. 8, 2022); Golden u. Google, LLC, No.
       21-CV-00244-JD-KFM, 2021 WL 5083804, at *3(D.S.C.
       Nov. 2, 2021); Golden v. Intel Corp., No. 22-03828-NC,
       2022 WL 17735388, at *4-5; Golden v. Apple, Inc., No.
       22-CV-04152-VC.

           In particular,the Court of Claims dismissed Plain
       tiff's case against the United States government, in
       which he alleged that the government "caused cell
       phone manufacturers," including Qualcomm, "to pro
       duce devices that infringe on one or more of his pa
       tents." Golden v. United States, 156 Fed. Cl. 623, 625
      (2021). The District of South Carolina then dismissed
      a patent infringement lawsuit naming Qualcomm and
      fifteen other companies, and the Federal Circuit af
      firmed that dismissal "on the ground offrivolousness."
      See Dkt. No. 6-6; Golden v. Apple Inc., No. 19-cv-02557,
      2020 WL 415896 at *2-3; Golden v. Apple Inc., SIQ Fed.
      Appx. at 931. Six months later, Plaintiff filed another
      suit in the District of South Carolina against Qual
      comm and other defendants, alleging violations of
      state and federal antitrust law, and that suit too was
      dismissed based on the Magistrate Judge's recommen
      dation that the claims were "patently frivolous."
      Golden v. Apple Inc., No. 20-cv-02270-BHH-KFM,2020
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       WL 11624670, *4 (D.S.C. Sept. 11, 2020), report and
       recommendation adopted by Golden v. Apple Inc., No.
       20-CV-02270- JD-KFM,2021 WL 4260782(D.S.C. Sept.
       20, 2021). Plaintifffiled yet another lawsuit in the Dis
       trict of South Carolina, which was dismissed as frivo
       lous. Golden v. Apple Inc., No. 20-cv-04353-JD-KFM,
       2021 WL 5890508, ^5 (D.S.C. Feb. 5, 2021), report and
       recommendation adopted by Golden v. Apple Inc., No.
       20-CV-04353-JD-KFM, 2021 WL 5074739 (D.S.C. Nov.
       2, 2021). And shortly thereafter. Plaintiff filed another
       lawsuit in South Carolina naming Google as the sole
       defendant, but alleging that Google jointly infringed
       his patents with hoth Qualcomm and Apple. Golden v.
       Google, LLC, No. 21-cv-00244-JD-KFM, 2021 WL
       5890440, "^4 (D.S.C. Apr. 9, 2021), report and recom
       mendation adopted by Golden v. Google, LLC, No. 21-
       CV-00244-JDKFM, 2021 WL 5083804 (Nov. 2, 2021).
       This case was also dismissed with prejudice as frivo
       lous, with the Magistrate Judge specifically noting that
       Plaintiff could not "circumvent prior rulings by this
       court that infringement allegations against Ap-
       ple/Qualcomm are frivolous." Golden v. Google, LLC,
       2021 WL 5890440 at H(D.S.C. Apr. 9, 2021).^

           ^ The Federal Circuit affirmed the November 2,2021 dismis
      sal of the complaint against Apple, but reversed the April 9, 2021
      dismissal of the complaint against Google. Golden v. Apple, 2022
      WL 4103285 at *2 (Fed. Cir. 2022). As to the complaint against
      Google, the Federal Circuit found that the complaint included a
      claim chart that"attempts—whether successfully or not—to map
      claim limitations to infringing product features, and it does so
      in a relatively straightfoi*ward manner." Id. The Federal Circuit
      remanded to allow the complaint to be filed and seiwed, but noted
      that "[o]ur decision does not preclude subsequent motions to
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            The Court finds that the claims in this case are
       equally as frivolous as Plaintiff's many allegations
       against Qualcomm that preceded them. As other
       courts have observed, "[bjecause Golden neither
       breaks his allegations down into counts, nor provides
       a numbering system, it is challenging to say exactly
       how many counts are at issue." Golden v. Intel, 2022
       WL 17735388 at ""3, n.l. The Court's challenge here is
       compounded because Plaintiff has attached nearly
       1,200 pages of documents to the complaint. The Court
       need not, and will not, wade through the attachments
       to attempt to ferret out aspects of the claims not fairly
       and squarely addressed in the body ofthe 37-page com
       plaint: Federal Rule of Civil Procedure 8(a) requires
       that a complaint contain "a short and plain statement
       of the claim showing that the pleader is entitled to re
       lief" Fed. R. Civ. P. 8(a)(2).

            With these caveats, it appears Plaintiff is assert
       ing three claims:(1) antitrust violations;(2) unjust en
       richment; and (3) patent infringement. Complaint at 1
      ("COMPLAINT           FOR     ANTITRUST          LAW      VIOLA
       TIONS AND PATENT INFRINGEMENT").




       dismiss by the defendant for failure to state a claim," and it "ex
       press[ed] no opinion as to the adequacy of the complaint or claim
       chart except that it is not facially frivolous." Id. In the present
       case, as described below, Plaintiff's allegations fail to meet this
       standard, and the issue comes before the Court on a fully-briefed
       motion to dismiss.
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       II.   MOTION TO DISMISS

             A. Plaintiff fails to plausibly plead an an
                 titrust claim.

             The Complaint alleges that "[ulpon information
       and belief, Plaintiff believes Qualcomm has formed or
       created its monopoly for chipsets by 'tying' Plaintiff's
       CPUs to its wireless cellular modems." CompL |         52.
       The theory appears to be that "Qualcomm's 'hold out'
       strategy of'no license, no chip' was used to force the co-
       conspirator OEMs to purchase Plaintiff's patented
       CPU that Qualcomm 'tied' to its modem."Id. ^ 54.The
       alleged harm appears to be that"Qualcomm's anticom
       petitive practices has [sic] restrained Plaintiff from
       entering the market to collect royalties on his patented
       inventions." Id. 1 83. Plaintiff relies heavily through
       out the complaint on the district court's findings in
       FTC. V. Qualcomm, 411 F. Supp. 3d 658 (N.D. Cal.
       2019), and attaches a copy of that decision to the com
       plaint, without recognizing that the case was reversed
       and vacated by the Ninth Circuit. See id.       76-78; cf.
      FTC V. Qualcomm Inc., 969 F.3d 974, 1001-1002 (9th
      Cir. 2020)(finding no antitrust violation based on "no
      license, no chips" policy because district court "failed to
       identify how the policy directly impacted Qualcomm's
       competitors or 'distorted the area of effective competi
       tion,'" and policy "involve[d] potential harms to Qual
       comm's customers, not its competitors, and thus falls
       outside the relevant antitrust markets") (citations
       omitted; emphasis in original).
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           Plaintiff's antitrust claim is frivolous. At the out
       set, Plaintiff lacks antitrust standing. A party seeking
       to bring a private antitrust action must establish anti
      trust in^xiry, American Ad Mgmt.y Inc. v. Gen. Tel Co. of
      Cal,190 F.3d 1051,1054 & n.3(9th Cir. 1999); Cargill,
      Inc. V. Monfort of Colorado, Inc., 479 U.S. 104, 110 n.5
      (1986)(requiring antitrust injury to seek injunctive re
       lief under the Clayton Act). To plead antitrust injury,
       Plaintiff must allege that he suffered the type ofinjury
       antitrust laws were designed to prevent and that he is
       a participant in the same market as the alleged wrong
       doers. Golden v. Intel, 2022 WL 17735388 at *4 (citing
       American Ad Mgmt., 190 F.3d at 1055, 1057). Plaintiff
       fails to allege that he is a participant in the same mar
       ket as Qualcomm or that he suffered injury in that
       market, and does not even allege the contours of the
       claimed market. To the extent the claim is that he is
      "restrained" from "entering the market to collect roy
      alties on his patented inventions," Compl. ^ 83,that is
      fatally implausible: he is free to license his patents to
      whoever wants to license them, but this theory does
       not state a viable antitrust claim. To the extent Plain
       tiff's actual purported injury is patent infringement,
       the Court addresses that claim below.


            B. Plaintiff fails to plausibly or adequately
                plead patent infringement.
          As in his prior cases, Plaintiff "fail[s] to include
      factual allegations beyond the identities of the defend-
      ant[], reference to the alleged infringing devices, and
      the alleged infringed-upon patents." Golden v. Apple,
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       No. 20-CV-04353-JD-KFM, 2021 WL 5074739 at =^2,
       aff'd as to this holding. No. 22-1229, 2022 WL 4103285
       (Fed. Cir. Sept. 8, 2022). The complaint lists two illus
       trative claims, without explaining what product made
       by Qualcomm supposedly infringes, or how. Compl.
       n 86-88. Plaintiff references his complaint in Golden
       V. United States for the premise that Qualcomm "had
       an opportunity" to show that certain claims were inva
       lid, but "failed to appear." Id. 84-85. That is irrele
       vant,and does nothing to adequately put Defendant on
       notice of his theory of infringement. Nor does a claim
       chart regarding a GM product, |  id. 107, or a multi-
       hundred page claim chart concerning Samsung prod
       ucts, Dkt. No. 1-7, adequately state a claim.
           Plaintiff also fails to adequately plead contribu
       tory or induced infringement. As for contributory in
       fringement, Plaintiff fails to plead any of the elements
       ofthat offense:(1)selling a device capable ofinfringing
       the patent, which is not suitable for substantial non-
       infringing use;(2) with knowledge that the infringing
       device was especially adapted for use in an infringe
       ment of such patent; and (3) actual infringement by
       another. Golden v. Intel, 2022 WL 17735388 at '^2. For
      example, Plaintiff fails to plead facts plausibly sup
      porting a claim that the Snapdragon chipsets or Snap
      dragon ride platform do not have other noninfringing
      uses. See Uniloc U.S.A., Inc. v. Logitech, Inc., No. 18-cv-
      01304, 2018 WL 6025597 (N.D. Cal. Nov. 17, 2018)
      (granting motion to dismiss where plaintiff"fail[edl to
      provide factual underpinnings for its allegations that
      there are no substantial noninfringing uses of the
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       accused devices"). Similarly, as to induced infringe
       ment,Plaintifffails to allege facts plausibly supporting
       an inference that Qualcomm purposely induced an
       other party to infringe any patent. See Lifetime Indus.,
       Inc. V. DIm-Lok, Inc., 869 F.3d 1372, 1379 (Fed. Cir.
       2017)("For an allegation of induced infringement to
       survive a motion to dismiss, a complaint must plead
       facts plausibly showing that the accused infringer spe
       cifically intended another party to infringe the patent
       and knew that the other party's acts constituted in
       fringement.") (citation and internal quotation marks
       and brackets omitted).


            C. Plaintiff fails to plausibly plead unjust
                enrichment.

           Because Plaintiff fails to state a claim for either
       direct or contributory infringement, he also fails to
       state a claim for unjust enrichment.See Golden v. Intel,
       2022 WL 17735388 at ^3.



            D. The complaint is dismissed as frivolous
                without leave to amend.

          As noted above.Plaintiff's claims have almost uni
      formly been dismissed in jurisdictions around the na
       tion, often without leave to amend. See Golden v. Intel,
       No. 22-CV-03828-NC, 2022 WL 17735388 (N.D. Cal,
      Nov. 22, 2022); Golden v. Apple Inc., No. 19-cv-02557-
      DCC,2020 WL 415896(D.S.C. Jan.27,2020),aff'd,819
      Fed. App'x. 930 (Fed. Cir. 2020) (affirming dismissal
      "not on the basis of duplicity, but on the ground of
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       frivolousness"); Golden v. Apple Inc., No. 20-cv-02270-
       JD-KFM, 2021 WL 4260782 (D.S.C. Sept. 20, 2021),
       aff'd, No. 21-2160, 2022 WL 986984 (4th Cir. Mar. 31,
       2022); Golden v. Apple Inc., No. 20-cv-04353-JD-KFM,
       2021 WL 5074739 (D.S.C. Nov. 2, 2021), aff'd, No. 22-
       1229, 2022 WL 4103285 (Fed. Cir. Sept. 8, 2022);
       Golden v. Google, LLC,No. 21-cv-00244-JD-KFM,2021
       WL 5083804(D.S.C. Nov. 2, 2021); Golden v. Apple, 22-
       cv-04152-VC (N.D. Cal. Oct. 20, 2022).
           The same result is warranted here: ultimately,
       Plaintiff has repeatedly shown that he is not capable
       of pleading these sprawling and repetitive claims
       against Qualcomm in a manner that satisfies the basic
       requirements of federal pleading, such that granting
       leave to amend under these unusual circumstances
       would be futile. In particular, given what has already
       been pled, including the complaint's very heavy reli
       ance on the district court's reversed findings in FTC.
       V. Qualcomm, no amendment of the antitrust claim at
       the core of the complaint could cure the fundamental
       problem that Plaintiff does not have antitrust stand
       ing. See United States u. Corinthian Colleges, 655 F.3d
       984,995(9th Cir. 2011)(finding that leave to amend is
       only warranted "if the deficiencies can be cured with
      additional allegations that are consistent with the
      challenged pleading and that do not contradict the al
      legations in the original complaint"). And Plaintiff's
      infringement claims against Qualcomm repeat, either
      directly or in substance, claims previously found more
      than once to be frivolous. Accordingly, this is the rare
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       case in which dismissal without leave to amend is war
       ranted on the first round motion to dismiss.


       III. CONCLUSION

           The     motion    to   dismiss the    complaint is
       GRANTED WITHOUT LEAVE TO AMEND. All
       pending motions, Dkt. Nos. 15, 22, 34, and 46, are de
       nied as moot. The Clerk is directed to enter judgment
       against Plaintiff and in favor of Defendant and close
       the case.

           IT IS SO ORDERED.

       Dated:    8/15/2023

                             /s/ Haywood S. Gilliam, Jr.
                                  HAYWOOD S. GILLIAM,JR.
                                  United States District Judge
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                 UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA


       LARRY GOLDEN,                  Case No. 22-cv-03283-HSG
                  Plaintiff,          ORDER DENYING
            V.                        MOTION FOR
                                      RECONSIDERATION
       QUALCOMM,INC.,
                                      Re: Dkt. No. 51
                  Defendant.
                                      (Filed Apr. 6, 2023)

            Pending before the Court is Plaintiff Larry
       Golden's motion for reconsideration of the Court's or
       der granting Defendant Qualcomm's motion to dis
       miss, Dkt. No. 49. Dkt. No. 51.^ Qualcomm filed an
       opposition(Dkt. No.53,"0pp."),and Plaintiffthen filed
       a document styled as "supplemental authority." (Dkt.
       No. 54). The Court finds this matter appropriate for
       disposition without oral argument and the matter is
       deemed submitted. See Civil L.R. 7-l(b). The Court
       DENIES the motion.



       I.    LEGAL STANDARD

           In the Northern District of California, Local Rule
       7-9 allows for the filing of motions for reconsideration
       only with respect to interlocutory orders made in a


           ^ In addition to the motion, Dkt. No. 51, Plaintiff submitted
       Dkt. No. 52, entitled "Plaintiff's Memorandum of Law in Support
       of Plaintiff's Motion for Reconsideration." The Court considered
       both filings.
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       case prior to the entry of final judgment.See Civil L.R.
       7-9(a). Post judgment motions for reconsideration are
       construed as motions to alter or amend judgment un
       der Federal Rule of Civil Procedure 59(e)(motion to
       alter or amend judgment) or motions for relief from
       judgment or order under Federal Rule of Civil Proce
       dure 60(b)(motion for relieffrom judgment).
           Motions for reconsideration should not be fre
       quently made or freely granted; they are not a substi
       tute for appeal or a means of attacking some perceived
       error of the court. See Twentieth Century - Fox Film
       Corp. V. Dunnahoo,637 F.2d 1388,1341 (9th Cir. 1981).
       3 [T]he major grounds that justify reconsideration in
       volve an intervening change of controlling law, the
       availability of new evidence, or the need to correct a
       clear error or prevent manifest injustice.' Pyramid
       Lake Paiute Tribe ofIndians v. Hodel,882 F.2d 364,369
       n.5 (9th Cir. 1989) (quoting United States v. Desert
       Gold Mining Co., 433 F.2d 713, 715(9th Cir. 1970)).

           Rule 60(b) lists six grounds for relief from a judg
       ment:(1) mistake,inadvertence, surprise or excusable
       neglect; (2) newly discovered evidence which by due
       diligence could not have been discovered in time to
      move for a new trial;(3) fraud by the adverse party;
      (4)thejudgment is void;(5)the judgment has been sat
      isfied;(6)any other reason justifying relief. Fed. R. Civ.
      P. 60(b); School Dist. IJ v. ACandS Inc., 5 F.3d 1255,
       1263(9th Cir.1993).
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       II.   DISCUSSION

             Plaintiff's motion does not present any basis for
       reconsideration ofthe Courts dismissal order or the re
       sulting judgment. It simply contends that the Court
       was wrong to dismiss his case, raising substantially
       the same arguments Plaintiff presented in opposing
       the motion to dismiss.Plaintiff has every right to make
       these arguments on appeal, but he may not relitigate
       them here. The Court has issued its ruling, final judg
       ment has been entered, and this case remains closed.
       The motion for reconsideration is thus DENIED,and
       the Clerk is directed not to accept any further filings
       in this closed case.

             IT IS SO ORDERED.

       Dated:    4/6/2023

                              /s/ Ha3^ood S. Gilliam, Jr.
                                 HAYWOOD S. GILLIAM, JR.
                                 United States District Judge
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                Note: This order is nonprecedential.
                  United States Court of Appeals
                        for the Federal Circuit


                            LARRY GOLDEN,
                            Plaintiff-Appellant
                                       V.


                  QUALCOMM INCORPORATED,
                      Defendant-Appellee


                                 2023-1818


            Appeal from the United States District Court for
       the Northern District of California in No. 4:22-cv-
       03283-HSG,Judge Haywood S. Gilliam, Jr.


       ON PETITION FOR PANEL REHEARING AND
                       REHEARING EN BANC


                            (Filed Dec. 6, 2023)
         Before Moore, Chief Judge, Lourie, Bryson^, Dyk,
           Prost, Reyna, Taranto, Chen, Hughes, Stoll,
             Cunningham,and Stark, Circuit Judges.^
       Per Curiam.




           ^ Circuit Judge Bryson participated only in the decision on
       the petition for panel rehearing.
           - Circuit Judge Newman did not participate.
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                              ORDER

           Larry Golden filed a combined petition for panel
       rehearing and rehearing en banc. The petition was
       referred to the panel that heard the appeal, and there
       after the petition was referred to the circuitjudges who
       are in regular active service.

           Upon consideration thereof,
           It Is Ordered That;

           The petition for panel rehearing is denied.
           The petition for rehearing en banc is denied.
           The mandate of the court will issue December 13,
       2023.

                                   For the Court

                                              [SEALl
       December 6. 2023           /s/ Jarrett B. Perlow
           Date                         Jarrett B. Perlow
                                          Clerk of Court
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                                                                  LARRY GOLDEN,
                                                                     Petitioner,
                                                                            V.

                                                                 QUALCOMM INC.,
                                                                      Respondent.

                                                             AFFIDAVIT OF SERVICE


I, Renee Goss, of lawftil age, being duly sworn, upon my oath state that I did, on the 5th day of January, 2024, send out from
Omaha, NE 1 package(s) containing 3 copies of the PETITION FOR WRIT OF CERTIORARI in the above entitled case. AH
parties required to be served have been served by Priority Mail. Packages were plainly addressed to the following:


                                                                   SEE ATTACHED



To be filed for:

        LARRY GOLDEN,Petitioner, Pro Se
        740 WoodmffRd.,#1102
        Greenville, South Carolina 29607
       (864)288-5605
        aipg-tech@charter.net




Subscribed and sworn to before me this 5th day of January, 2024.
I am duly authorized under the laws of the State of Nebraska to administer oaths.


          State of Nebraska - General Notary
                   ANDREW COCKLE
                My Commission Expires                                               OMiy
                      April 9, 2026                         Notary Public                       Affiant



                                                                                                                                   44630
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                                 SERVICE LIST



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